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                                                   UNITED STATES DISTRICT COURT
                                                               FOR THE                        2072 JUL 22 AH II: 33
                                                         DISTRICT OF VERMONT

                           ANDREW LEISE,
                               Plaintiff,

                           v.                                                             Civil Case No.: 2:22-cv-9

                           VERMONT HUMAN RIGHTS COMMISSION,
                           KEVIN CHRISTIE, BORYANG,
                           DA CAPO PUBLISHING, INC.,
                           JOHN AND JANE DOE 1-X
                                Defendants.

                                                     FIRST AMENDED COMPLAINT

                                   NOW COMES plaintiff, Andrew Leise, by and through his attorneys, Cleary, Shahi

                           & Aicher, P.C., and alleges as follows:

                                                           NATURE OF ACTION

                                   1.     This suit is for the violation of plaintiff's constitutional rights and related

                           !aims. Plaintiff is a state trooper who has dedicated nearly 22 years to public service and

                           rofessional law enforcement with an impeccable record and a commitment to fair and

                            ondiscriminatory policing. His claims relate to the conduct of defendant Vermont Human

                            ·ghts Commission ("HRC") in handling a complaint made by Dr. Lydia Clemmons for

                           acial and gender discrimination against the Vermont State Police ("VSP") and Vermont

                            epartment of Public Safety ("DPS") under Vermont's Fair Housing and Public

                            ccommodations Act (FHP A).

                                   2.    HRC's statutory charge is to educate, investigate and seek resolution of



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                            claims of discrimination under FHPA. HRC's leadership 1 instead exploited the racial

                            difference between Dr. Clemmons who is black, and VSP which is a predominantly white

                            force of more than 300, to politically promote itself as aligned with national movements

                            such as Black Lives Matter (BLM). HRC's leadership engaged in unlawful means to

                            accomplish its goals, and in the process damaged the good names and reputations of a

                            number of troopers including plaintiff by falsely, unjustly and publicly labeling them as

                            racist.

                                      3.   A nearly 3-year HRC investigation of Dr. Clemmons' complaint reached

                            the conclusion by July 2020 that there was no evidence of discrimination. ("First Report").

                            HRC' s leadership manipulated and falsified the First Report to reverse the conclusions and

                            generate an investigative report that recommended a finding of discrimination.

                            ("Investigative Report"). HRC commissioners were thereby induced to vote on March 25,

                            2021, to find there was grounds to believe VSP/DPS had discriminated against Dr.

                            Clemmons.

                                      4.   On June 10, 2021, the Investigative Report was unlawfully released by

                            Bor Yang, the executive director ofHRC, to defendant Da Capo Publishing, Inc. ("Da Capo

                            or Seven Days") in exchange for favorable media coverage. The Investigative Report by

                            law was confidential. Defendant Yang intended to humiliate and harm the individual

                            troopers including plaintiff, and she did not even redact their names in the Investigative

                            Report. The individual troopers were not parties to the matter before HRC and had no



                                      1
                                    HRC's leadership includes Bor Yang, the Executive Director, Kevin Christie,
Cleary Shahi & Aicher       Chair, and any commissioner who were aware of the machinations at HRC.
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                            opportunity to defend themselves. The law permitted HRC to only disclose publicly the

                            determination that reasonable grounds for discrimination existed and the names of the

                            parties, Dr. Clemmons and DPSNSP.

                                    5.     The disclosure of the Investigative Report by HRC to Seven Days was part

                            of an arrangement whereby Seven Days was given the Investigative Report in exchange for

                            favorable coverage that would promote HR.C's leadership, shape public opinion against

                            VSP and its troopers, and eliminate scrutiny of the Investigative Report which would have

                            been part of the due process right of the troopers to defend their good names. Consistent

                            with this scheme, on June 23, 2021, Seven Days published an article that VSP had

                            discriminated against a black woman. The article was entitled, "Vermont State Police

                            Discriminated Against Black Woman Who Runs Clemmons Family Farm, Commission

                            Says." (The "Article").

                                    6.     Da Capo /Seven Days posted the false Investigative Report online, reported

                            on its false contents in the Article, and singled out plaintiff by name as the only trooper

                            profiled to falsely describe him as a racist. Seven Days used the plaintiff as the poster boy

                            for the story. It not only published some of the false passages about plaintiff from the

                            Investigative Report but did so selectively to enhance the falsehoods against him and

                            further damage his name. Consistent with HR.C's scheme to advance a false narrative in

                            complicity with Seven Days, Seven Days did not exercise independent journalism including

                            reaching out to plaintiff for comment or an opportunity to address the false charges against

                            him. Similarly after the publication of the Article, HRC through defendant Christie

                            declined to discuss with plaintiff the clearing of his name.
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                                  7.      Dr. Clemmons' complaint against VSP was essentially that because she is

                           African-American, VSP troopers in Fall 2017 disregarded her problems with her tenant, a

                           Hispanic man (the "Tenant"), in a landlord-tenant dispute. The evidence, however, showed

                           that VSP and its troopers including plaintiff professionally and properly handled the

                           contentious quarrel between Dr. Clemmons and the Tenant which was the subject of

                           ongoing litigation in civil court. Dr. Clemmons, an owner of a 148-acre farm in Charlotte,

                           had the resources to retain private attorneys and a security firm to deal with the Tenant, and

                           enjoyed unfettered access to multiple VSP troopers up and down the chain of command as

                           well as the State Attorneys in Windsor and Chittenden counties. In terms of wealth and

                           access to the state power apparatus, Dr. Clemmons, a well-educated person of social

                           standing, had the overwhelming advantage over the Tenant-an indigent person who was

                           likely in need of mental healthcare services.        Dr. Clemmons was not a victim of

                           discrimination by VSP.

                                   8.     Dr. Clemmons was frustrated that the justice system could not swiftly

                           remove the Tenant from her property, and decided to leverage the situation for financial

                           gain by claiming that VSP did not provide her with adequate law enforcement services

                           because she is a black woman. Dr. Clemmons was able to raise at least $50,000 in

                           donation(s) as a result of her false claim of discrimination and racism against VSP as well

                           as plaintiff Cpl. Andrew Leise. The Investigative Report portrayed Dr. Clemmons'

                           expectation of VSP and the standard under FHPA for police services in a landlord-tenant

                           dispute as a show of force that would bring the Tenant to his knees and have him forcefully

                           removed from his home through multiple citations, false arrests and incarceration.
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                             ything short of making the Tenant vanish was considered by HRC's leadership as

                            ·scrimination on the basis ofrace and gender against Dr. Clemmons.

                                  9.      HRC's leadership saw an opportunity to exploit Dr. Clemmons' race, and

                           score politically against VSP as a representative of the "white" law enforcement. The "ends

                           ·ustified the means" for HRC's leadership. HRC's leadership could care less about the

                           reputations and careers of dedicated troopers like plaintiffbecause they were white, enjoyed

                           little political power, and with the public sentiment focused on movements like BLM, it

                           was open season on these troopers. Nor did HRC care for Dr. Clemmons' genuine sense

                           of frustration with the Tenant. HRC should have guided Dr. Clemmons on the limited

                           powers oflaw enforcement and the justice system as a whole in a constitutional democracy.

                           Instead HRC inflamed Dr. Clemmons' sense ofracial bias and belief that VSP's inability

                           to remove the Tenant was because of her race.

                                   10.     The Investigative Report was written as a lengthy document (105 pages)

                           to give it the appearance of substance and legitimacy with a thorough investigation. Both

                           HRC and Seven Days knew that the average reader would not closely review the lengthy

                           Investigative Report to find its flaws and inconsistencies. The Investigative Report by the

                           sheer number of pages overwhelms most readers. Hence the role played by Seven Days

                           was particularly insidious because it held itself out as a conduit for the Investigative Report,

                           and in the same way that HRC and its leadership abused the public trust, Seven Days

                           abused the trust of its readers as an independent reporter.

                                   11.     A public label of "racist" spells the end of a career for an otherwise


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                             dedicated, fair minded, and unbiased law enforcement officer like plaintiff. The damage

                             is particularly significant when HRC, a supposed neutral, non-political "commission" finds

                             a law enforcement officer to be racist. A public announcement that the "Human Rights

                             Commission" found racism carries with it in the public eye a certain degree of credibility

                             and objectivity that can be difficult to overcome. There was little or no deterrence to HRC

                             and its leadership from abusing their authority.

                                       12.   HRC and its leadership abused their power, acted illegally, ignored the

                             facts and the law, falsified the conclusions of the First Report, and contrary to their mission

                             and public trust, treated Dr. Clemmons and the VSP troopers in a racist manner. The truth

                             is that there was no discriminatory or racist conduct by VSP, its troopers or plaintiff. VSP

                             and plaintiff exercised sound policingjudgment, fairness and discretion with their available

                             resources while maintaining the safety of all involved in a landlord/tenant civil dispute.

                             Plaintiff harbors no prejudice on the basis ofrace, ethnicity or gender. While considerable

                             progress remains to be made for the civil rights of people of color, law enforcement officers

                             like plaintiff and his colleagues at VSP should not have been falsely labeled racist and

                             deprived of the rights and protections that are afforded to everyone, even criminal

                             defendants. Defendants should have to account for their conduct and address the damages

                             caused.

                                                                   THE PARTIES

                                       13.   Plaintiff is a resident of Chittenden County, State of Vermont.

                                       14.   Defendant Vermont Human Rights Commission (HRC) was established by

Cleary Shahi & Aicher        statute, Title 9, Chapter 141, §§4551- 4556, to investigate and handle complaints of
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                            discrimination in violation of Title 9, Chapter 139, discrimination m public

                            accommodations and rental and sale of real estate. 9 V.S.A. §4552(b)(l). In certain

                            instances, HRC can bring enforcement actions against the State. HRC has the capacity to

                            sue in its name or be sued. 9 V.S.A. §4553(a)(6).

                                    15.    At all relevant times herein, defendant Kevin Christie was a resident of the

                            State of Vermont, a member and the Chair of HRC. Defendant Christie is named as a

                            defendant in his official and personal capacity.

                                    16.    At all relevant times herein, defendant Bor Yang was a resident of the State

                            of Vermont, and the Executive Director of HRC. Defendant Yang is named in her official

                            and personal capacity.

                                    17.    At all relevant times herein, defendant Da Capo Publishing, Inc. (Da Capo

                            or Seven Days), is a domestic profit corporation registered in Vermont with its principal

                            business office located at 255 South Champlain Street, Suite 5, Burlington, Vermont,

                            05041. Defendant Da Capo at all relevant times operated a newspaper with the registered

                            assumed name, Seven Days.

                                    18.    Defendants John and Jane Doe I-X are fictitiously named defendants whose

                            identities will have to be determined in discovery, and this complaint will be amended at

                            such time. These individual actor(s) carried out the actions ofHRC and Seven Days, and

                            their status and/or involvement was of such nature that exposes them to individual liability

                            under any and all causes of action asserted. Plaintiff reserves the right to name such

                            individuals as defendants once the nature and extent of their involvement is explored in

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                                                                JURISDICTION

                                    19.    This Court has jurisdiction to address a federal question under 28 U.S.C.

                            § 1331. Venue is proper in this Court under 28 U.S.C. § 1391 (b)(2).

                                                                     FACTS

                                   20.     Between September and December 2017, plaintiff, a Corporal with VSP was

                            one of a number of state troopers at the Williston Barracks who responded to calls made

                            by Dr. Clemmons. Dr. Clemmons is an owner and operator of the Clemmons Farm in

                            Charlotte, Vermont ("Clemmons Farm" or the "Farm"). The Clemmons Farm, a148-acre

                            property, is described as"[ o]ne of the rare African-American owned farms in Vermont and

                            in the nation." <https://www.clemmonsfamilyfarm.org/>.

                                   21.     On or about September 18, 2017, Dr. Clemmons reported to VSP that the

                            Tenant had paid his security deposit with silver coins that she suspected were stolen. This

                            report led to the Tenant's arrest by VSP on September 21, 2017, and the transfer of his

                            custody to the Hartford Police which had been investigating the theft of some silver coins

                            in 2015; the Tenant was a suspect in that investigation.

                                   22.      On September 22, 2017, a criminal complaint was filed by the Windsor

                            County State's Attorney in Windsor County Criminal Court against the Tenant for stolen

                            silver coins. Pursuant to court procedure, the Tenant was released with conditions requested

                            by the State's Attorney and imposed by Court. The conditions of release did not prohibit

                            the Tenant from returning to his lodging at the Barn House at Clemmons Farm.

                                   23.     The Tenant's lease included the use of a bedroom on the upper level of the

Cleary Shahi & Aicher       Barn House as well as a bathroom and the kitchen on the main floor. Others had access to
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                           the main floor, and it was highly likely there would be encounters between Dr. Clemmons

                           and the Tenant. The State's Attorney failed to address the potential friction that could

                           ensue with the Tenant and Dr. Clemmons sharing the same space at the Barn House.

                           Without applicable conditions of release, law enforcement agencies have limited ability to

                           address disputes that are essentially governed by civil law and lack criminality.

                                  24.     The Investigative Report started with the false narrative that VSP

                           discriminated against Dr. Clemmons by creating the untenable situation at the Farm.

                           (Investigative Report, p.12).   Even though VSP was not responsible for setting the

                           conditions of the Tenant's release, the Investigative Report persisted on this baseless

                           accusation and falsely elevated it to evidence of discrimination.

                                  25.     The Investigative Report next focused on a letter dated March 2, 2017, from

                           the owner of the coins to Hartford Police that expressed concern about retaliation by the

                           Tenant. Id. p.11. The Investigative Report suggested that VSP overlooked this letter in

                           setting the conditions of the Tenant's release. Putting aside that VSP did not set the

                           conditions of release, the letter was written six months earlier to a different law

                           enforcement agency. Regardless, a competent State's Attorney would have anticipated

                           potential friction between a criminal defendant and the complaining party living at the same

                           premises. Not only did the Investigative Report reach a false conclusion about VSP's

                           responsibility for the conditions but proceeded to falsely consider it as evidence of

                           discrimination by VSP against Dr. Clemmons.

                                  26.     The Investigative Report noted a civil action for eviction was brought by Dr.

Cleary Shahi & Aicher      Clemmons but it was delayed due to her failure to follow the notice requirements to the
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                            Tenant under the governing law. Consistent with its agenda to create a false narrative of

                            discrimination, HRC blamed a trooper for having suggested to Dr. Clemmons to evict the

                            Tenant "right away." (Investigative Report, fu. 24). In doing so, HRC assumed that a well-

                            educated, intelligent person like Dr. Clemmons would, because of her race, conflate the

                            trooper's suggestion to act "right away" with the notice requirements of the eviction

                            process. HRC's treatment of Dr. Clemmons was demeaning and racist.

                                   27.     The Investigative Report recounted that on October 6, 2017, Dr. Clemmons

                            reported to VSP the Tenant's truck had blocked access to the wheelchair ramp. The

                            responding trooper considered the situation a civil matter, not criminal. Although the

                            conditions of release were amended by Windsor Criminal Court on October 4, 2017, to

                            prohibit abuse or harassment of Dr. Clemmons, they had not been yet served on the Tenant.

                                   28.     HRC considered VSP's failure to issue a civil citation to the Tenant for an

                            unregistered truck as evidence of discrimination against Dr. Clemmons. HRC ignored good

                            policing practices, reasonableness and de-escalation techniques. The issuance of a civil

                            citation with a monetary fine under the circumstances could be viewed as punitive against

                            the Tenant, and would have done little to ease tensions and maintain safety. The needless

                            erosion of the Tenant's confidence in fair treatment by law enforcement would have been

                            a disservice to Dr. Clemmons because his cooperation was one of the best options to

                            reaching a resolution. The trooper's decision and professional discretion not to issue a

                            ticket to the Tenant for an unregistered truck was prudent, promoted safety, and had nothing

                            to do with race.

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                                   29.     Dr. Clemmons had the truck towed by October 13, 2017. By taking such

                            bold action against the Tenant, Dr. Clemmons demonstrated her high confidence in VSP' s

                            handling of the Tenant and her safety. Otherwise, she would not have exposed herself to

                            retaliation by the Tenant. Instead of citing this incident as an example of Dr. Clemmons'

                            belief that VSP had supported her, HRC found she was discriminated against because VSP

                            questioned her credibility for telling the tow company the tow was authorized by VSP.

                            However, VSP had every right to know whether one of the parties had misrepresented

                            police authority. It had nothing to do with race, and everything to do with sound law

                            enforcement.

                                   30.     On October 7, 2017, Dr. Clemmons reported to VSP that the Tenant's two

                            dogs, Doberman pinschers, were off-leash at the Farm. Dr. Clemmons pointed to the

                            amended conditions ofrelease that prohibited harassment but those had not yet been served

                            on the Tenant. HRC concluded it was discriminatory for VSP to have failed to arrest the

                            Tenant, and instead opened a new case file on the dog complaint. VSP issued an internal

                            email requesting expedited service of the amended conditions of release on the Tenant, and

                            service was accomplished the next day, October 8, 2017. The decision not to arrest the

                            Tenant for having dogs off-leash was reasonable and consistent with the law. HRC's

                            standard for proper police service, however, was the abusive arrest of the Tenant for a

                            couple of dogs off-leash.

                                   31.     On October 12, 2017, shortly after the parking and dog incidents, Dr.

                            Clemmons continued to demonstrate feeling protected and empowered by VSP, so much

Cleary Shahi & Aicher       so that she emailed the Tenant with the schedule of the events planned in October at the
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                            Fann and the Barn House. Dr. Clemmons advised the Tenant that these events were

                            "directly managed" by her and consisted of:

                                           (i)     10/11/17 to 10/16/17, a guest would stay at the 2 BR apartment and
                                                   spend time with Dr. Clemmons in the kitchen;
                                           (ii)    10/12/17, a group of 18 visitors from 1 :00 p.m. to 4:30 p.m. would
                                                   meet Dr. Clemmons at the Barn House and tour the grounds;
                                           (iii)   10/13/17, a group of 35 people would be at the Fann House for an
                                                   event hosted by Dr. Clemmons, 5:00 p.m. to 6:30 p.m.;
                                           (iv)    10/14/17, a cooking class would be held in the kitchen of the Barn
                                                   House, 2:00 p.m. to 4:00 p.m. and co-hosted by Dr. Clemmons;
                                           (v)     10/15/17, a second cooking class would be held in the kitchen of
                                                   the Barn House, 11 :00 a.m. to 1:00 p.m. and co-hosted by Dr.
                                                   Clemmons; and
                                           (vi)    10/15/17, a third cooking class would be held in the kitchen of the
                                                   Barn House, 3:30 p.m. to 5:00 p.m. and co-hosted by Dr.
                                                   Clemmons.

                            (Investigative Report, fn. 52).

                                   32.     Dr. Clemmons' email warned the Tenant that any interference whatsoever

                            with these events would prompt her to call VSP. As she put it:

                                           I will consider any interference whatsoever by you in the smooth running
                                           of this business, and in my ability to peacefully conduct this business and
                                           interact with our guests and visitors, as a form of abuse or harassment and
                                           I will call the State Police.

                            Id

                                   33.     Dr. Clemmons' email reflected her state of mind that VSP had handled the

                            situation with the Tenant so well and effectively that her guests including herself (60+

                            people) could visit the Fann and socialize there. Dr. Clemmons even provided the Tenant

                            with specifics of the events, giving him time and opportunity to plan any disruption. Had

                            Dr. Clemmons felt at the time that VSP was not protecting her because of some

Cleary Shahi & Aicher       discriminatory motive, she would not have been as daring and vocal with the Tenant. Any
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                           reasonable person reading Dr. Clemmons's email would conclude that she had the utmost

                           confidence in the services provided by VSP and its troopers.

                                  34.        Dr. Clemmons planned these social events at the Farm and specifically at

                           the Barn House where the Tenant lived. Dr. Clemmons did not hold these events at other

                           locations on the 148-acre Farm including a separate large residence and farmhouse. With

                           the convenience of outdoor tents, social events can be held at a variety oflocations. Indeed,

                           cooking classes held in outdoor tents are trendy and the subject of popular television

                           shows. 2 For HRC to have recognize the obvious fact that Dr. Clemmons was not acting

                           like a victim of racial discrimination, would have undermined HRC's agenda to fabricate

                           a narrative of discrimination.

                                   35.       The Investigative Report did not indicate that any of these events planned

                           by Dr. Clemmons were interrupted by the Tenant. VSP's effective, reasonable and fair

                           policing had successfully managed the situation at the Farm with the Tenant. Again, HRC

                           failed to acknowledge the obvious results of good and fair law enforcement by VSP.

                                  36.        On October 16, 201 7, the criminal court issued another amended conditions

                           of release that prohibited the Tenant from coming within 300 feet of Dr. Clemmons, her

                           residence or vehicle. These amended conditions of release were served on the Tenant on

                           October 29, 2017. The Investigative Report noted the reason for the two-week delay in

                           service was "unclear," but lack of evidence did not deter it from concluding it was racial

                           discrimination.




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                                  37.     Dr. Clemmons invited 10-15 guests for an event at the Barn House on

                           October 22, 2017. (Investigative Report, p.18). Based on the amended conditions of

                           release, Dr. Clemmons understood the Tenant could not be within 300 feet of her. Dr.

                           Clemmons orchestrated a showdown with the Tenant by bringing herself within 300 feet

                           of him. Dr. Clemmons went into the kitchen where the Tenant was already using as was

                           his right under the lease. Dr. Clemmons then reported the encounter to VSP as a violation

                           of the conditions ofrelease. The Tenant also called VSP to complain that Dr. Clemmons

                           was harassing him.

                                  38.     Plaintiff was dispatched to the Fann to respond to the complaints about the

                           kitchen encounter on October 22, 2017. He activated his video and audio recording device

                           upon arrival, and met Dr. Clemmons and her brother, Josh Clemmons, in the driveway

                           upon arrival. This was plaintiff's first encounter with Dr. Clemmons and the Tenant. As

                           an astute, seasoned trooper, plaintiff quickly recognized the untenable situation with Dr.

                           Clemmons and the Tenant living/working in the same space. Plaintiff attempted to address

                           the parties in a fair and reasonable manner while controlling the risk of aggravation and

                           escalation between the parties and maintaining his own safety. Plaintiff was properly

                           concerned that Dr. Clemmons had brought herself within 300 feet of the Tenant, and

                           explained his concern in a professional, respectful and non-confrontational verbal tone.

                           This was documented by audio/video.

                                  39.     Plaintiff took a statement from the Tenant. Plaintiff was advised by Dr.

                           Clemmons and Josh Clemmons that they would drop off their statements later. Plaintiff

Cleary Shahi & Aicher      successfully de-escalated the situation and handled the cross-complaints by the parties.
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                                  40.     Dr. Clemmons verbally pressured plaintiff to have the Tenant's belongings

                           removed from the downstairs portion of the Barn House before the arrival of her guests at

                           9:00 a.m. Even though Dr. Clemmons did not have the legal right to exclude the Tenant

                           from the kitchen, plaintiff worked diligently to address her wishes. To appease Dr.

                           Clemmons, plaintiff had to build a rapport with the Tenant quickly whom he had just met

                           for the first time. Plaintiff used effective communication to gain cooperation, and helped

                           the Tenant move his belongings out of the hallway. Plaintiff commended the Tenant for

                           being cooperative in resolving the situation. Josh Clemmons remarked that plaintiff went

                           above and beyond for helping to move the Tenant's belongings out of the hallway so that

                           Dr. Clemmon' s event could begin on time. Dr. Clemmons happened to have stepped away

                           and was not present when Josh Clemmons made this comment. Dr. Clemmons' attitude

                           was that she wanted plaintiff gone as well by the time her guests arrived. The presence of

                           a law enforcement uniform was viewed by her as a negative. This was a far cry from

                           someone who felt there was inadequate police attention.

                                  41.     After peacefully resolving the encounter in the kitchen, plaintiff advised all

                           parties that he would prepare a report and send it to the State's Attorney for review.

                           Plaintiff later learned that the criminal court had issued an amended conditions of release

                           which were served on the Tenant on October 31, 2017. Those conditions were not

                           applicable at the time of the encounter on October 22, 2017, and hence there was no

                           criminality for the Tenant to be within 300 feet of Dr. Clemmons.

                                  42.     HRC's anti-law enforcement agenda did not allow it to consider plaintiffs

Cleary Shahi & Aicher      involvement for what it was--exemplary law enforcement. He settled a landlord-tenant
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                           ~uarrel peacefully and in a timely manner for Dr. Clemmons' function to proceed. HRC

                           ~alsely   considered the technique used by Plaintiff to attain the T errant' s cooperation as

                           evidence of favoring the Tenant. HRC then engaged in a mean-spirited, ad hominem, attack

                           of plaintiff, starting with a description of his tone as "impatient, brusque, accusatory,

                           confrontational and peppered with perfunctory politeness." (Investigative Report, p.20).

                           The Investigative Report disregarded plaintiff having gone above and beyond to appease

                           Dr. Clemmons when she did not have a court order or other documentation that excluded

                           the Tenant from the kitchen.

                                     43.    The Investigative Report falsely concluded that plaintiff had engaged in

                           discriminatory conduct-the alleged conduct and plaintiff's comments are set forth below:

                                     HRC's False Version                               Facts

                            plaintiff described the ambiguous                  this is an example of the absurdity of the
                            conditions of release as "gray" to Dr.             Investigative Report and the
                            Clemmons, a black person                           disingenuous reasons to find racism
                            plaintiff expressed his dismay at the              any reasonable person would make the
                            unworkable conditions of release                   same observation

                            plaintiff observed Dr. Clemmons had                Dr. Clemmons admitted this.
                            brought herself into the kitchen which the
                            T errant was allowed to use

                            plaintiff failed to probe the status of Dr.        plaintiff was aware of Dr. Clemmons'
                            Clemmons as a witness in the criminal              status as a witness; there was no further
                            case                                               detail relevant to plaintiff's task that day

                            plaintiff probed the status of the eviction        a reasonable inquiry given the civil
                            action                                             nature of the landlord tenant dispute
                            plaintiff failed to investigate whether the        plaintiff's priority was to meet Dr.
                            Tenant had tampered with the locks to              Clemmons' demand under time pressure
                            the Airbnb in the building                         that the kitchen be cleared, situation
                                                                               stabilized by 9 a.m., and police be gone
Cleary Shahi & Aicher                                                          for the arrival of her guests
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                             plaintiff opined that the conditions of           True.
                             release had not been violated

                             plaintiff assisted the Tenant to move his     plaintiff did so to meet Dr. Clemmons'
                             belongings from the hallway and kitchen       demand to clear the kitchen by 9:00 a.m.
                             to his room

                             plaintiff took a statement from the Tenant        any reasonable officer would have done
                             re his complaint against Dr. Clemmons             so in response to a complaint by someone
                             and helped him with his statement                 unable to articulate well

                             plaintiff expressed skepticism of Dr.             any reasonable officer would consider the
                             Clemmons' representation that her guests          credibility of the witnesses/parties in
                             were arriving at 9 a.m. when no-one had           such a situation
                             arrived by 9:30 a.m.

                             Plaintiff treated the Tenant in a friendly        any reasonable officer would do so to
                             way and encouraged him to be safe, a              encourage someone like the Tenant to
                             gentleman and cooperative                         cooperate and de-escalate

                             plaintiff tried to calm down the Tenant in        a very sensible response by plaintiff to an
                             a call from him later that day to report          ongoing quarrel between two individuals
                             kitchen items were taken by Dr.                   who had the legal right to occupy the
                             Clemmons; plaintiff suggested that                same space
                             perhaps there was a mistake

                             in the same call, plaintiff downplayed the        any reasonable officer would do so in an
                             Tenant's report that he was threatened by         ongoing quarrel between two individuals
                             Josh Clemmons                                     who had the legal right to occupy the
                                                                               same space


                            (Investigative Report, pp.20-24). No reasonable person would construe the above alleged

                            conduct by plaintiff as deprivation of police services to Dr. Clemmons. Only a biased

                            person with an agenda would view this conduct as discriminatory on basis of race or

                            gender.

                                      44.   The Investigative Report falsely found evidence of discrimination when

                            another trooper on the evening of October 22, 2017, tried to diffuse a 911 call by the Tenant

Cleary Shahi & Aicher       to report that Dr. Clemmons had taken water bottles from the kitchen.
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                                     45.    The Investigative Report falsely cited as evidence of discrimination that

                           plaintiff, in an email to his colleagues on October 23, 2017, shared his impression that Dr.

                           Clemmons was "intelligent, persistent and manipulative." Plaintiffs description of Dr.

                           Clemmons was accurate and supported by the record including her attempt to provoke the

                           tenant by planning events in the spaces he had the right to occupy and the confrontation on

                           October 22, 2017, and pressuring plaintiff to clear the Tenant and his belongings for the

                           arrival of her guests by 9:00 a.m. Dr. Clemmons wanted plaintiff to be gone as well to

                           avoid the embarrassment of the presence of a uniformed officer.

                                     46.     The Investigative Report falsely cited as evidence of discrimination that

                           plaintiff shared with his colleagues his belief that the dispute between Dr. Clemmons and

                           the Tenant was civil, not criminal, in nature. Plaintiff forwarded the information regarding

                           the October 22, 2017, incident to the State's Attorney's office and followed his

                           Lieutenant's directions. If plaintiffs assessment was incorrect that the dispute was civil

                           in nature, the State's Attorney's office would have acted accordingly.

                                     4 7.   The Investigative Report falsely cited as evidence of discrimination that

                           Plaintiff cautioned his colleagues about arresting anyone in this situation as it could prompt

                           an accusation of biased policing. Plaintiff's caution was warranted as both Dr. Clemmons

                           and the Tenant were persons of color in protected classes. Yet HRC took plaintiff's

                           sensitivity about the protected status of Dr. Clemmons and the Tenant as evidence of

                           racism.

                                     48.    The Investigative Report falsely cited as evidence of discrimination that


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                            plaintiff and his lieutenant did not react to Dr. Clemmons' notification on October 25,

                            2017, that she intended to remove the Tenant's personal property. (Investigative Report,

                            pp.26-27). Dr. Clemmons relied on sections 11 and 14 of the lease to remove the Tenant's

                            belongings. Id. 27, n.17. HRC concluded "[i]t appears from the lease that she was within

                            her rights to do this as a landlord." Id Yet HRC expected VSP and plaintiff to treat the

                            Tenant as a criminal suspect for asserting his rights as a tenant. It is not a law enforcement

                            function or service to adjudicate landlords/tenants rights and then attach criminality to the

                            conduct of the losing party. Dr. Clemmons completely misunderstood the role of law

                            enforcement, and HRC, knowing better, exploited that misunderstanding by playing the

                            race card.

                                    49.     On October 27, 2017, Dr. Clemmons had the Tenant's belongings removed

                            and stored in a room that was locked. The Investigative Report falsely cited as evidence

                            of discrimination a trooper's decision to treat the situation as a civil matter including minor

                            damage to the door frame of the room in question which the Tenant admitted happened

                            when he opened the door. HRC expected VSP to abuse its authority in line with the

                            historical pattern in other regions of the Country where white privilege used the police to

                            oppress people of color with false arrests and criminal charges for petty and insignificant

                            disputes.

                                    50.     The Investigative Report falsely cited as evidence of discrimination that on

                            October 28, 2017, plaintiff advised the Tenant by email that the Tenant's version of an

                            encounter with Josh Clemmons was not consistent with a witness statement. HRC has no

                            expertise in policing, and it is not its function to second guess the decision of a seasoned
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                           trooper like plaintiff to confront a witness with credibility issues. This type of micro-

                           management of policing is not the standard for determination of discrimination under

                           Vermont's Fair Housing and Public Accommodations Act.

                                  51.        The Investigative Report falsely cited as evidence of discrimination that

                           plaintiff emailed Dr. Clemmons on October 29, 2017, to inquire about the Tenant's

                           allegations that his boots and camera were missing. Plaintiff's email read:

                                          Hello Lydia, Greg has called to report that his $450 Logging boots and
                                          $80 trail camera have been stolen. He advised that only you and Josh
                                          have access to the event center/apartment via keys. He did not report any
                                          forced entry. Just checking to see if those items could have been moved
                                          somewhere to the side while either your or Josh were cleaning up the
                                          entryway of your event center. He is requesting a criminal investigation if
                                          they are not located. Thank you for your continued assistance with this
                                          difficult landlord/tenant situation.

                           (Investigative Report, p.29). HRC disregarded the fact that plaintiff consistently treated the

                           dispute as a landlord/tenant situation regardless of whether Dr. Clemmons or the Tenant

                           was the subject of a complaint.

                                  52.         The Investigative Report falsely cited as evidence of discrimination that

                           on October 29, 2017, the revised conditions ofrelease issued by Court on October 16, 2017

                           was served on the Tenant by VSP troopers. The Investigative Report could not determine

                           the reason for the delay, and based on absence of evidence concluded it must have been

                           discriminatory.

                                  53.        The Investigative Report falsely cited as evidence of discrimination that

                           on October 30, 2017, amidst continuing complaints and counter-complaints by Tenant and

                           Dr. Clemmons, VSP troopers cited the Tenant for violation of conditions but did not charge

Cleary Shahi & Aicher      him for the alleged theft of silverware. HRC's approach in this instance was consistent
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                             with its overall expectation that the function of law enforcement is to protect the wealthy

                             and powerful like Dr. Clemmons by crushing the underprivileged like the Tenant who are

                             also likely in need of mental health services.

                                     54.      On November 1, 2017, plaintiff sent Dr. Clemmons an e-mail indicating

                             that because the amended conditions of release had not been served on the T errant by

                             October 22, 2017, he could not be charged with a crime for the kitchen encounter. Dr.

                             Clemmons replied to say amongst other things, "thank you very much for closing the loop

                             on this" as well as "we understand, and we do appreciate all of the excellent work you are

                             doing," and "thank you again."        The Investigative Report did not emphasize these

                             exchanges which were inconsistent with HRC's resulted oriented approach against VSP

                             and plaintiff.

                                     55.      The Investigative Report falsely cited as evidence of discrimination that on

                             November 2, 2017, a trooper did not criminally charge the Tenant based on Dr. Clemmons'

                             report that someone had vandalized a lock in the Barn House. Again HRC expected abuse

                             of police powers to engage in false arrest without probable cause.

                                     56.      On November 2, 2017, another revised conditions of release was issued by

                             the Court which further restricted the Tenant's movements. The revised conditions of

                             release was served on the Tenant on November 10, 2017.

                                     57.      The Investigative Report falsely cited as evidence of discrimination that on

                             November 10, 2017, aftertheTenantaccusedDr. Clemmons of theft, an internal VSPemail

                             emphasized the need for Dr. Clemmons to return the Tenant's property which she admitted


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                           to have taken. Clearly VSP did not treat Dr. Clemmons criminally, but was attempting to

                           facilitate a resolution or reduction in tensions.

                                   58.     The Investigative Report falsely cited as evidence of discrimination that on

                           November 12, 2017, Dr. Clemmons reported the theft of certain items from the Barn

                           House, and a deputy Chittenden County State's Attorney advised the responding trooper

                           that there was insufficient evidence for a search warrant of the Tenant's room. Dr.

                           Clemmons advised the trooper that she had spoken with the Tenant's mother, who believed

                           he had mental health issues. HRC, again, expected VSP to criminally charge a person

                           when the State's Attorney had opined there was no probable cause.

                                   59.     The Investigative Report falsely cited as evidence of discrimination that

                           following a ruling by Chittenden Superior Court on November 15, 2017 that granted the

                           Tenant a temporary stalking order against Dr. Clemmons, a VSP Sergeant noted in an

                           email:" Neither party has demonstrated any violence, however both are very manipulative,

                           vocal and seem content playing the victim by re-agitating this ongoing saga." (Investigative

                           Report, p.3 8). The Sergeant's email was correct and appropriate under the circumstances.

                                   60.     The Investigative Report falsely cited as evidence of discrimination an

                           encounter on November 15, 201 7, when plaintiff and his Sergeant went to the Farm to serve

                           Dr. Clemmons with a court issued stalking order. The reason for HRC's conclusion was

                           not any conduct by the troopers, but their mere existence as uniformed white men.

                           According to the Investigative Report: "Dr. Clemmons described the experience of being

                           served in her home by two white, male troopers as a traumatic one that solidified her sense

                           she was being treated in a discriminatory manner on the basis ofrace, color and sex." Id
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                            p.38. While Dr. Clemmons' feelings may be informed generally by incidents of police

                            abuse of people of color, both historically and contemporary, it was HRC' s function to help

                            her understand that the vast majority oflaw enforcement including plaintiff are dedicated

                            to serve their communities in a fair and professional manner.

                                    61.    In fact, HRC's investigator described the audio recording of the November

                            15, 2017, encounter as professional, polite and informative:

                                           [the troopers'] general tone was professional, polite, and informative.
                                           References to being arrested, photographed, and handcuffed were explained
                                           as what could happen to anyone who violated an order and as part of a
                                           resulting process. They came across on the recording as a standard warning
                                           to not violate the order so that embarrassment could be avoided. From this
                                           investigator's point ofview, they were not explicitly presented as threats but
                                           were designed to get the listener's attention.

                            Id. p.38.

                                    62.    Dr. Clemmons herself at the time made comments like: "Thank you, I

                            appreciate your service, and I didn't know how much you guys actually do in terms of the

                            dialogue, and it's so time consuming, but I really appreciate it." Plaintiff had exhibited his

                            heightened sensitivity by attempting to put Dr. Clemmons at ease with small talk such as

                            complimenting her on the artifacts in her home. When plaintiff and his Sergeant were

                            leaving, Dr. Clemmons stated "Thank you, thank you, thanks again I really appreciate it,

                            we're going to write a movie, Hollywood!"

                                    63.    The Investigative Report noted that on November 15, 2017, after serving

                            Dr. Clemmons with the stalking order, plaintiff and his Sergeant visited the Tenant, urged

                            him to move and treated him harshly compared to Dr. Clemmons:

                                           Sgt. Ravelin treated Barreda very differently than he treated Dr. Clemmons.
Cleary Shahi & Aicher                      He was impatient and slightly threatening. Barreda was told that he could
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                                           be arrested and booked - the same thing that had been conveyed to Dr.
                                           Clemmons, although on what basis was not clear since he was not being
                                           served with a TRO. Ravelin was dismissive of his efforts to report alleged
                                           wrongdoings by the Clemmons and emphasized that he needed to move out.

                           Id. 39.

                                     64.   It did not matter to HRC that plaintiffs encounter on November 15, 2017

                           with Dr. Clemmons was exemplary and professional. Plaintiff went beyond the call of duty

                           to show understanding for Dr. Clemmons who was likely upset by the no-stalking court

                           order issued against her. Nor did HRC care that plaintiff and his Sergeant urged the Tenant

                           to move from the Farm. All that HRC cared about was the racial difference between Dr.

                           Clemmons and the troopers at a politically opportune time for police bashing.

                                     65.   Consistent with its approach, HRC focused on a minor mistake made by

                           Sgt. Ravelin for informing both parties that the Court had ordered Dr. Clemmons to return

                           the Tenant's property. Even though Sgt. Ravelin was motivated in earnest to help end the

                           conflict, HRC had to blemish his career by accusing him in the Investigative Report of

                           "manufacturing untrue facts." Id. 39. HRC knew this accusation was false and highly

                           detrimental to the career of a law enforcement officer but it would have been contrary to

                           its racist, anti-police agenda to compliment the two troopers and forgo the vindictive jab

                           at Sgt. Ravelin.

                                     66.   The Investigative Report falsely cited as evidence of discrimination that

                           when the Tenant on November 16, 2017 reported his property was stolen, VSP failed to

                           investigate him for property damage and theft. Id. 41. This accusation was consistent with

                           HRC's expectation that police services to Dr. Clemmons meant abusive, unlawful and

Cleary Shahi & Aicher      retaliatory measures to be taken by VSP against the Tenant.
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                                   67.    The Investigative Report falsely cited as evidence of discrimination that

                            SP failed to investigate a report by Josh Clemmons on November 23, 2017, of vandalism

                            t the Barn House. The tit-for-tat complaints had made it clear that the parties were

                            tilizing more and more ofVSP's limited resources for posturing.

                                   68.    The stalking order issued at the Tenant's petition was dissolved on

                            ovember 27, 2017, but the Court summoned Dr. Clemmons and her family to a hearing---

                           "once more causing immense humiliation, embarrassment and anguish for [her] and [her]

                           entire family." (Investigative Report, pp.40-41 ). The legal process was clearly a source of

                           significant stress to Dr. Clemmons starting with the inadequate conditions of release, the

                           "untenable" situation at the Farm, the lengthy eviction process, the unpredictable stalking

                           orders, and the reluctance of two State Attorneys offices to aggressively prosecute the

                           Tenant. Instead of educating Dr. Clemmons about the challenges with the legal process,

                           HRC reinforced her misguided belief that her problems were caused by VSP because of her

                           race.

                                   69.    The Investigative Report falsely cited as evidence of discrimination that

                           VSP failed to investigate the Tenant for the potential theft of his former girlfriend's truck

                           and property. Id pp.42-44. The Investigative Report devoted nearly three pages to this

                           subject when the Tenant's former girlfriend had no relevance to Dr. Clemmons'

                           discrimination complaint against VSP. This is yet another example ofHRC' s mudslinging

                           strategy.

                                   70.    The Investigative Report recounted that a trooper on November 28, 2017,


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                           cited the Tenant with a violation of his conditions of release. Id. 44. The citation was

                           based on Josh Clemmons' report that the Tenant had been in areas at the Barn House which

                           were not available to him. Id. 44. The Investigative Report failed to objectively consider

                           this citation as police services provided to Dr. Clemmons.

                                  71.     The Investigative Report described the effort by Dr. Clemmons through her

                           attorney in early December 2017 to pressure the Chittenden State's Attorney and VSP to

                           enforce the conditions of release. Id. 45. The Investigative Report failed to discuss the

                           potential ethical implications of an attorney using the criminal prosecution of an adverse

                           party in a civil dispute to gain an advantage in the civil case. Rule 4.5 of the Vermont

                           Rules of Professional Conduct states: "A lawyer shall not present, participate in presenting,

                           or threaten to present criminal charges in order to obtain an advantage in a civil matter."

                           The Comment to this Rule provides:

                                          The civil adjudicative process is primarily designed for the settlement of
                                          disputes between parties, while the criminal process is designed for the
                                          protection of society as a whole. Threatening to use, or using, the criminal
                                          process to coerce adjustment of private civil claims or controversies is a
                                          subversion of that process; further, the person against whom the criminal
                                          process is so misused may be deterred from asserting the person's legal
                                          rights, and thus the usefulness of the civil process in settling private
                                          disputes is impaired. As in all cases of abuse of judicial process, the
                                          improper use of criminal process tends to diminish public confidence in our
                                          legal system.

                                   72.    Whether Dr. Clemmons' attorney had actually violated Rule 4.5 required

                           further investigation at the time. However, the failure ofthe Investigative Report to address

                           this issue is consistentwithHRC's expectation that proper police services to Dr. Clemmons

                           had no bounds in legality or ethics. Instead of objectively observing that overreaching was

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                           improper, HRC highlighted the efforts by Dr. Clemmons' attorney to arguably use the

                           criminal justice system to gain an advantage in the civil dispute with the Tenant.

                                  73.     The Investigative Report noted a portion of an email from a VSP Lieutenant

                           on December 1, 2017, to a deputy State's Attorney that stated both Dr. Clemmons and the

                           Tenant were manipulative and unwilling to compromise. (Investigative Report, p.46). The

                           Investigative Report did not credit the Lieutenant with his evenhanded approach which was

                           entirely supported by the record, and instead used this email as evidence of bias against Dr.

                           Clemmons.

                                  74.     The Investigative Report noted thatonDecember4-5, 2017, Dr. Clemmons

                           hired a security company because she had lost confidence in VSP's responsiveness and

                           willingness to enforce the conditions of release. (Investigative Report, p.46). However, the

                           retention of private security was part of fund raising by Dr. Clemmons by leveraging the

                           false narrative that VSP had failed to protect her, and HRC knew or should have known the

                           true facts. Dr. Clemmons' decision to hire a security company came on the heel of two

                           citations issued by VSP to the Tenant for violation of the conditions ofrelease.

                                  75.     On December 6, 2017, plaintiff and another trooper responded to Dr.

                           Clemmons' report that her security guards had found weapons in a room the Tenant was

                           not allowed to access. The trooper located three firearms in the closet of a room used for

                           storage across the hallway from the Tenant's room on the third floor. There was no legal

                           prohibition against the Tenant possessing firearms, and therefore the weapons located in

                           the closet were returned to his room. Plaintiff and the trooper also observed a lock

                           removed from a door on the second floor and another lock partially removed from another
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                           door on that floor. The Tenant was cited for trespass based on Dr. Clemmons' assertion

                           that he was not allowed in that room, and for violation of condition of release. The

                           Investigative Report failed to acknowledge that plaintiff's actions were consistent with Dr.

                           Clemmons' expectations when she called VSP.

                                  76.     The Investigative Report falsely cited as evidence of discrimination emails

                           on December 6, 2017 between Lt. Lucas and DSA Olney that questioned the credibility of

                           the parties. The fact that within a day or two of its hiring, the security company found

                           weapons in Tenant's belongings that had been removed by Dr. Clemmons some five weeks

                           earlier and stored in the room, would raise red flags for any reasonable observer.

                                   77.     HRC further revealed its anti-law enforce~ent bias and lack ofrespect for

                           the troopers by noting that Lt. Lucas was out of touch "with reality" for suggesting to DSA

                           Olney on December 6, 2017, the Tenant had not been violent or argumentative.

                           (Investigative Report, p.48). The Investigative Report did not cite any evidence that the

                           Tenant had been violent or argumentative.

                                   78.     The Investigative Report falsely cited as evidence of discrimination that

                           later on December 6, 2017, when plaintiff and a trooper served the Tenant in Burlington

                           with a citation for violation of conditions of release and trespass, plaintiff attempted to have

                           the Tenant identify his room out of concern that Dr. Clemmons would not move his things.

                           The Tenant was having difficulty telling the troopers which room(s) was part of his lease.

                           It turned out that the lease did not specify which room was assigned to him. (Investigative

                           Report, p.49). Plaintiff's approach was good policing to incentivize the Tenant to be

                           forthcoming about the location of his room-an issue relevant to the trespass citation. To
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                            suggest, as HRC did, that plaintiff favored the Tenant, only showed HRC's bias and anti-

                            police agenda.

                                   79.       On December 7, 2017, the Tenant reported that two men had entered his

                            apartment and threatened him with mace. It turned out the men worked for the security firm

                            hired by Dr. Clemmons. Plaintiff spent much time including six hours beyond his shift to

                            address the tension between the Tenant and Dr. Clemmons' security. The Investigative

                            Report falsely cited as evidence of discrimination plaintiffs effort as having provided

                            assistance to the Tenant. However, if plaintiff had any bias or racist sentiment, he would

                            have used this development to cite Dr. Clemmons and his security firm for criminal conduct.

                            Plaintiff had been consistently helpful to Dr. Clemmons from his initial involvement but

                            HRC's agenda was once again an obstacle to the truth.

                                   80.       The Investigative Report falsely cited as evidence of discrimination that VSP

                            would not arrest the Tenant and remove him from the Farm based on Dr. Clemmons' report

                            on December 8, 2017 that he had papered over the Barn House windows. The security

                            personnel hired by Dr. Clemmons were shining flashlights into the building late at night and

                            harassing the Tenant. The Investigative Report did not provide an analysis of the supposed

                            criminality of placing paper over windows under the circumstances.

                                   81.       The Investigative Report contains a section entitled: "December 9,

                            2017-More evidence of damage to the Barn House." (Investigative Report, p.56). The

                            reported missing hinges/door was based on photos taken by the Clemmons' security firm on

                            December 6, 2017, the same day that plaintiff and another trooper visited the Barn House,

                            and later that day served the Tenant in Burlington with a citation.
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                                  82.     The Investigative Report falsely cited as evidence of discrimination VSP's

                           failure to arrest the Tenant based on Dr. Clemmons' report on December 10, 2017 that

                           certain items in the kitchen could be used in bombs. Id. pp.57-59. Dr. Clemmons and her

                           brother called Homeland Security, FBI, the local fire department, and (through their

                           attorney) the State Attorney's office. No evidence of a bomb threat was found. The

                           Investigative Report failed to objectively view this incident as evidence that Dr. Clemmons

                           continued to receive law enforcement services despite an overreaction.

                                  83.     The Investigative Report falsely cited as evidence of discrimination that

                           when plaintiff returned to work on December 10, 2017 after being off-duty and saw an email

                           earlier in the day from Josh Clemmons about the recent events, plaintiff respectfully advised

                           Josh Clemmons to contact trooper Marchand who had been originally assigned to the case

                           and was investigating it. Id. pp.59-60. The Investigative Report stated it was "logical" for

                           Mr. Clemmons to email plaintiff in view of his recent involvement but disregarded that if

                           plaintiff had acted in a biased and discriminatory manner, it would have been entirely

                           "illogical" for the victims to reach out to him for further assistance. HRC's bias prevented

                           it from drawing the only logical inference that plaintiff had been helpful to the Clemmons

                           family and he was not perceived as biased or prejudiced.

                                   84.    The Investigative Report quoted an internal email sent by Lt. Lucas to

                           his superior on December 11, 2017 to outline the efforts underway in conjunction with

                           Chittenden State Attorney's office to issue further citations to the Tenant. Lt. Lucas refuted

                           the accusation by Dr. Clemmons' attorney that VSP had not been responsive because of Dr.

                           Clemmons' race. Id. 61-62. The Investigative Report appeared to find support in the
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                           accusation by Dr. Clemmons' attorney, but failed to address whether the attorney was using

                           the race card to advocate on behalf of her client.

                                   85.     On December 14, 2017, a temporary restraining order (TRO) was issued

                           against the Tenant which resulted in the removal of his weapons. On December 17, 2017,

                           VSP responded to a report by Clemmons' security guard of a potential pistol in the Barn

                           House. VSP discovered it was an air gun. On December 18th , Dr. Clemmons contacted VSP

                           to report she had forgotten to show the responding trooper evidence of property damage.

                           A trooper returned to the Farm and was shown an uninhabited building called the "museum"

                           which was in disrepair. The trooper observed damaged wood trims, holes in sheetrock and

                           cracked glass panes in interior doors, all consistent with the overall condition of the

                           building. The Investigative Report was critical of VSP for the failure to cite the Tenant for

                           the dilapidated condition of the museum. Id 64.

                                   86.     The Investigative Report falsely cited as evidence of discrimination that

                           when plaintiff took the initiative on December 19, 2017 to find the Tenant at his girlfriend's

                           apartment and serve him with the TRO, plaintiff tried not to embarrass him in front of his

                           new girlfriend. Id 65. It was abusive and telling for a "Human Rights" commission to be

                           critical of a law enforcement officer's treatment of a citizen with a sense of dignity. HRC' s

                           racist and anti-police agenda blinde_d it to the fact that the Tenant also enjoyed human rights.

                           HRC' s website declares in part that it"[ e]nvisions a society in which People treat each other

                           with dignity and respect." https://hrc.vermont.gov. Yet when the police treated the Tenant

                           with dignity HRC found it to be evidence of discrimination.

                                   87.     The flash citation served by plaintiff on the Tenant required him to be at
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                           Court on December 21, 2017. However it was not delivered by VSP to the State's

                           Attorney's Office by the deadline of 8 :3 0 a.m. that morning, and as a result no court action

                           was taken on that citation. Id. 65-66. The physical delivery of the basket at the Barracks for

                           delivery to the State Attorney's office can be delayed for a variety of reasons. The delay on

                           this day had nothing to do with plaintiff. The Investigative Report falsely portrayed this as

                           retaliatory to an online Internal Affairs complaint filed over three hours later at 11 :55 a.m.

                           by Dr. Clemmons. Even though the timeline did not support even the mention of retaliation,

                           HRC was undeterred by the truth and the mudslinging continued.

                                   88.     On December 21, 2017, Dr. Clemmons sent an email to VSP command

                           requesting the removal of another trooper and plaintiff from her case because she felt they

                           were racially biased. Id. 66. Objectively, there was no evidence of any bias or racism by

                           plaintiff or other troopers. Over the course of the preceding two months from October 22,

                           2017 when plaintiff has his first encounter with Dr. Clemmons he had made every

                           reasonable effort to provide her with proper law enforcement services and assistance. Dr.

                           Clemmons clearly conflated her sense of frustration with the civil and criminal justice

                           system with suspicion that she was a victim of racial bias by VSP. HRC should have

                           educated her that a trooper's refusal to abuse his/her powers is not evidence of racism.

                                   89.     On December 28, 2017, the Chittenden Superior Court, after an evidentiary

                           hearing, extended the TRO against the Tenant to a year. The Investigative Report quoted

                           and highlighted the Court's decision that accepted Dr. Clemmons' evidence over the

                           Tenant's. The Investigative Report gave the false impression that VSP and its troopers could

                           have acted like a judge and hold an evidentiary hearing, take testimony, accept one party's
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                            evidence over another's, and had the authority to issue TRO orders. Instead of educating

                            Dr. Clemmons on the separate functions of the actors in the civil and criminal justice

                            systems, HRC continued to muddy the waters to advance its race based political agenda

                            against law enforcement.

                                    90.    The Investigative Report acknowledged that neither the Chittenden nor the

                            Windsor State Attorneys pursued any of the criminal charges against the Tenant. This was

                            not surprising given the limited resources of prosecutors and the overall trend in the criminal

                            justice system away from incarceration. One would expect the State's "Human Rights

                            Commission" to understand the societal misgivings about excessive imprisonment of the

                            population, particularly the indigent and those in need of mental health services. By

                            conflating Dr. Clemmons' stressful situation with VSP's failure to charge the Tenant with

                            even more criminality (which as evidenced by the inactions of the State Attorney's offices

                            would have gone nowhere), HRC remained true to its objective of political gain.

                                    91.    On February 6, 2019, the Chittenden Superior Court extended the no-stalking

                            order issued against the Tenant by three years. The Investigative Report treated the Court's

                            ruling as yet another example of decisive action against the Tenant that should have been

                            taken by VSP. In addition to the above criticism ofHRC for equating court authority with

                            VSP's, HRC failed to acknowledge that these court orders, practically speaking, have

                            limited effectiveness due to considerations against prosecution and incarceration. HRC's

                            unrealistic view of the role oflaw enforcement in the overall criminal justice system was not

                            the result of naivete, but a deliberate falsehood employed to enhance its findings against

                            VSP.
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                                  92.     HRC, on June 10, 2021, illegally released the Investigative Report to Seven

                           Days for publication. The controlling statute, 9 V.S.A. §4555, clearly states in subsection

                           (a)(l) that with certain exceptions, "[t]he Human Rights Commission's complaint files and

                           investigative files shall be confidential."    The exceptions address the release of the

                           investigative file to the parties and law enforcement agencies. The statute provides that "[i]f

                           the Commission determines that there are reasonable grounds to believe that discrimination

                           has occurred, that determination and the names of the parties may be made public after the

                           parties have been notified of the Commission's determination."           9 V.S.A. §4555(c).

                           Plaintiff was not a party to the matter before HRC, and his reputation and career would have

                           been spared if HRC had complied with the law to publicly release only the determination

                           that reasonable grounds existed to find VSP had discriminated against Dr. Clemmons on the

                           basis ofrace and gender. Such a disclosure would not have involved the disclosure of the

                           individual identities ofthe troopers including plaintiff who had responded to Dr. Clemmons.

                           Had Seven Days complied with the law, it would not have become a conduit for HR.C's

                           illegal and false scheme which damaged plaintiffs career and reputation. The individual

                           harm done by defendants to the troopers named, including plaintiff, was intentional and

                           motivated by ill will, and their names could have been readily redacted even if the decision

                           was made to unlawfully release the Investigative Report.

                                   93.     The Investigative Report was manipulated to change the initial conclusion

                           of a HRC investigator that the discrimination charge could not be sustained. A report dated

                           July 16, 2020, was issued by HRC investigator, Nelson M. Campbell, to two individuals

                           whose names were redacted but in context appear to be Dr. Clemmons and her brother, Josh
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                            Clemmons. ("First Report"). Investigator Campbell wrote that "[t]here is insufficient

                            evidence to support the existing legal standard (which I discuss below) that would show that

                            the VSP treated either of you or your family in a discriminatory manner based either on sex

                            or race and color." Id p. l, emphasis added.

                                   94.     Investigator Campbell further explained in the First Report, the applicable

                            legal standard of "markedly hostile" treatment by a service provider such as merchants:

                                                   There are several reasons for my findings and recommendation. In
                                                   the first instance, for purposes of race and color, a complainant must
                                                   show "markedly hostile" treatment by the Respondent. That standard
                                                   derived from a year 2000 Maryland federal district court easel
                                                   involving merchants, not law enforcement, but it has never been
                                                   embraced by the Second Circuit (our circuit). To prove marked
                                                   hostility, courts examine indicators of objectively unreasonable
                                                   conduct including: "(1) [conduct that was] [ ] profoundly contrary to
                                                   the manifest financial interests of the merchant and/or her
                                                   employees; (2) so far outside of widely-accepted business norms; and
                                                   (3) so arbitrary on its face, that the conduct supports a rational
                                                   inference of discrimination." Those could be adapted to law
                                                   enforcement of course, but the Second Circuit has noted that it can
                                                   be difficult to distinguish instances of "declining civility" versus
                                                   hostility based on race and color. It is not robust.

                            Id.

                                   95.     Investigator Campbell noted that in addition to a weak legal basis for the

                            charges against VSP, there was no "comparable" case for law enforcement services rendered

                            to a white family seeking police services in a similar situation:

                                                   Absent (or in addition to) sufficient evidence of marked hostility due
                                                   to race and color, you need a "comparator" - that is, in this case - a
                                                   white individual or family in similar circumstances, who was
                                                   delivered services by the VSP in a more favorable way than your
                                                   family. At one point, I had considered [redacted] as a possible
                                                   comparator, however (as Leise noted on Thursday in his interview)
                                                   he was also considered a "person of color" - not white. I also note
Cleary Shahi & Aicher                              Leise's email of 10/23/17 to Lt. Lucas and Sgt. Hammond regarding
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                                                  the VCOR: "I just don't want to see someone go down, arrest
                                                  someone, and then the ACLU gets involved due to both parties
                                                  backgrounds, etc. and that the biased state police made a bad
                                                  judgement call." The instances of comparison found in the other
                                                  incident reports are not extensive enough for me to make a
                                                  comparison. This means I do not have a comparator or evidence to
                                                  support an already weak legal standard. I will return to the issue of
                                                  discrimination based on sex further below while I review the bases
                                                  for my recommendation. Please be aware that I am highlighting the
                                                  areas below, but my report will go into far greater detail.

                           Id

                                   96.     Investigator Campbell described VSP as an organization with a top down

                           command structure that puts out fires and mediates but does not have the ability and

                           resources to function like a victim's advocate. Ms. Campbell advised Dr. Clemmons that

                           from VSP's perspective, "[t]hey accommodated you a great deal and delivered services to

                           you above and beyond including time off (Leise)." Id p.2. Ms. Campbell noted that from

                           Dr. Clemmons' perspective, her situation with the Tenant was "[t]he most important thing

                           in the world" but "[i]n the context of every other case that was going on at the time in

                           Chittenden County, it wasn't." Id p.3. Investigator Campbell concluded: "I cannot find

                           sufficient evidence to support the legal standard that the decision of the VSPs, their actions

                           and non-actions were based on race and color." Id.

                                   97.     Investigator Campbell explained to Dr. Clemmons that troopers are bound

                           by legal constraints, and the conditions of release imposed by court contributed to the

                           frustrating situation at the Farm with the Tenant. As she put it: "Troopers and Sergeants

                           were bound by legal constraints and court orders. Windsor County really messed things up

                           with the conditions ofrelease as you well know. It created frustration on your end and theirs

Cleary Shahi & Aicher      and it contributed to the creation of a fraught relationship and confrontations with [redacted]
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                           that turned into nothing because they could not be enforced." Id. p.3, emphasis added. The

                           Investigator concluded that arguably there could have been additional citations issued to the

                           Tenant, but she did "[n]ot find evidence sufficient to support the legal standard, that the

                           failure to do so was based on race and color." Id. (extra comma in original).

                                   98.    Investigator Campbell acknowledged in the First Report the limited function

                           of a law enforcement agency like VSP, and that "[r]eality in fact is he [Tenant] would not

                           have been kept in jail at all or only overnight in most instances." Id. 3. Investigator

                           Campbell added the Tenant may have become more angry with police strong arm tactics.

                           Id. Investigator Campbell concluded again that "I cannot find sufficient evidence to support

                           the legal standard that the decision ofVSPs, their actions and nonactions were based on race

                           and color." Id. 4.

                                   99.     Investigator Campbell explained to Dr. Clemmons that her claim of sex

                           discrimination also failed. Investigator Campbell noted the Tenant provided a comparable

                           case of police services to a male who had complained about Dr. Clemmons. Investigator

                           Campbell noted that VSP's treatment of the Tenant was less favorable than hers. By way

                           of example, Investigator Campbell referred to the audio recording of the service of the TRO

                           on Dr. Clemmons by plaintiff and Sgt. Ravelin on November 15, 2017:

                                           I obtained an audio recording of that meeting. I am cognizant that I am
                                           unable to see facial expressions or body language. I am also cognizant that
                                           having police officers in one's home, particularly under such awful
                                           circumstances is traumatic. I do not dismiss or disbelieve how you felt.
                                           However, the audio presents a version of the encounter that is at variance
                                           with your account of it and the assertions made in the complaint and
                                           interview. They spent about an hour and six minutes with you. Their tone
                                           was professional, polite and informative. References to arrest, photos and the
                                           like were informational and explained as part of various processes and were
Cleary Shahi & Aicher                      not presented as threats towards you. They listened to many of your
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                                          complaints about [redacted] and offered advice about going to court to
                                          contest the temporal y order and recommended what kind of evidence you
                                          should take with you. The meeting ended with laughter, and compliments
                                          from them on your [redacted] and on the [redacted] and comments about the
                                          situation someday becoming a movie. After leaving you, they went to see
                                          [redacted] where they spent about 22 minutes. They treated him very
                                          differently than they treated you. They were impatient, slightly threatening
                                          in the way I had expected you to have been threatened based on your
                                          description. They were dismissive of his efforts to report things you had
                                          allegedly done to him. They kept emphasizing that he needed to move out.
                                          I will send you a link to the audio. In sum, there is no support for
                                          disclimination based on sex attached to that encounter. In addition,
                                          collectively, the reasons supplied by the VSP that make it impossible to
                                          prove race and color, also make it impossible to prove pretext in the context
                                          of sex discrimination. To the extent they treated [redacted] "better" or with
                                          kid gloves, theirreasons - not escalating the situation, "ambiguous" CORs,
                                          lack of direct evidence - apply.

                                   100.   Over the course of approximately three months from September to December

                            2017, Dr. Clemmons engaged in the following:

                                          (a)    induced the Tenant to move into the Barn House and make a new
                                                 home/job there;
                                          (b)    report the Tenant to the police shortly after he moved in solely
                                                 because he used silver coins for his rental deposit;
                                          (c)    have the Tenant arrested and subjected to criminal charges for an
                                                 alleged crime of theft of coins not involving her property;
                                          (d)    have the Tenant's activities strictly regulated at his home and
                                                 workplace by way of court-imposed conditions of release;
                                          (e)    provoke the Tenant by scheduling social functions in the same spaces
                                                 that he had the right to occupy as a tenant and voluntarily bring
                                                 herself in contact with him;
                                          (f)    report the Tenant repeatedly to VSP with the expectation that he
                                                 would be criminally charged and/or arrested;
                                          (g)    proceed with an eviction action;
                                          (h)    unilaterally remove the Tenant's belongings, lock them up in a
                                                 storage room and complain to VSP when he attempted to access his
                                                 property;
                                          (I)    attempt to gain an advantage in the eviction action by pressuring
                                                 VSP and the State's Attorney's office to prosecute the Tenant;
                                          (k)    report falsely to Homeland Security and the FBI that the Tenant
                                                 posed a bomb threat;
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                                            (I)    enjoy access to resources such as private attorneys and a security
                                                   firm;
                                            (m)    communicate readily with two State's Attorney's offices and VSP
                                                   troopers up and down the ranks; and
                                            (n)    engaged in fund raising by leveraging the false narrative that because
                                                   of her race she was denied police services.

                                    101.    In many parts of the country, historically people of color and particularly

                            black people have experienced racial discrimination and treated as second class citizens.

                            People of color were given menial jobs, low wages, lived as tenants at the mercy of

                            landlords, arrested for the slightest irregularity, criminally prosecuted, and threatened with

                            the loss of their homes and livelihood. People of color did not enjoy the same access to

                            government resources and power as the wealthy, white, privileged class. Although some

                            progress has been made in the recognition of the civil rights of people of color, much work

                            remains to be done to eliminate racial discrimination and injustice.

                                    102.    Dr. Clemmons enjoyed considerable economic and social superiority relative

                            to the Tenant. Dr. Clemmons was well-educated, lived on and operated a large and

                            prestigious historic farm, and enjoyed social recognition and status as a person of privilege.

                            Seven Days in its article described her as "a Black woman who is a member of the

                            prominent Charlotte family that owns and runs the historic Clemmons Family Farm." The

                            Tenant was poor or indigent, appeared to have mental health issues, and enjoyed no status

                            or privileges in society. He was given a menial job by Dr. Clemmons, paid low wages, lived

                            as her tenant, and the slightest suspicion that someone like him should not be in possession

                            of silver coins led to his criminal prosecution and repeated efforts to enhance his prosecution

                            for incarceration and loss of liberty. Dr. Clemmons exhibited the type of access to state

Cleary Shahi & Aicher       power that is typical for the privileged in society. She was not a victim of discrimination
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                           and did not act like one. Dr. Clemmons leveraged the situation as one of the police not

                           protecting a black family.

                                  103.    Dr. Clemmons may have experienced stress and upset by the actions of the

                           Tenant which she perceived as threatening her security and peace. Yet she misplaced her

                           frustration with the justice system, which in a democracy and the rule oflaw, is not the most

                           efficient in addressing conflicts such as the one involving Dr. Clemmons and the Tenant.

                           Her experience had nothing to do with discrimination on the basis of race or gender, and

                           everything to do with a law enforcement agency and its troopers that maintained their

                           integrity and high level of professionalism.

                                  104.    In every encounter with Dr. Clemmons, plaintiff acted professionally and

                           fairly in the best tradition oflaw enforcement. From October 22, 2017, his first encounter

                           when he rolled up his sleeves and helped move the Tenant's belongings from the kitchen to

                           meet Dr. Clemmons' demand for her social event, to the November 15, 2017 service of a

                           restraining order on Dr. Clemmons (issued by the same justice system that HRC holds up

                           as the gold standard for truth finding when favorable rulings were made for Dr. Clemmons)

                           with utmost respect and sensitivity to her feelings, and the many hours of his personal time

                           spent late into the night on December 7, 2017 to settle the friction between the Tenant and

                           security firm. As Dr. Clemmons in her own words had said to plaintiff: "Thank you, I

                           appreciate your service, and I didn't know how much you guys actually do in terms of the

                           dialogue, and it's so time consuming, but I really appreciate it."

                                  105.    A good opportunity for HRC to discharge it statutory mission to educate


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                           and find reconciliation was usurped by defendants who were interested in self-promotion,

                           politics and publicity/headlines. Toe defendants' action and scheme placed Vermont's

                           largest law enforcement agency in the rank of racist with a false news story and the illegal

                           release of a biased Investigative Report. There was no due process oflaw that was owed to

                           each trooper named in the Investigative Report, including plaintiff, before HRC, in concert

                           with Seven Days, damaged their reputations and careers. Criminal defendants are afforded

                           considerably far more rights in this State than plaintiff and his trooper colleagues, while the

                           consequences ofloss of reputation and career can be as grave. Defendants' actions were

                           reprehensible and they must be held accountable.

                                   106.   Plaintiff's personal and professional reputation has been seriously damaged,

                           and his career in law enforcement has practically ended as a result of defendants' conduct

                           in damaging his otherwise untarnished reputation. Plaintiff's name is indefinitely attached

                           to the Investigative Report and the Seven Days article which will negatively affect his future

                           ability to work in law enforcement, or for that matter, any professional employment and

                           provide for his family financially.

                                                     COUNT ONE
                                (VIOLATION OF PROCEDURAL DUE PROCESS CLAUSE-LIBERTY
                                                INTEREST, 42 U.S.C. §1983)

                                   107.   Plaintiff refers to and incorporates the allegations in paragraphs 1-106.

                                   108.   42 U.S.C. § 1983 provides in relevant part: "Every person who, under color

                           of any statute, ordinance, regulation, custom, or usage, of any State or Territory or the

                           District of Columbia, subjects, or causes to be subjected, any citizen of the United States or

                           other person within the jurisdiction thereof to the deprivation of any rights, privileges, or
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                            immunities secured by the Constitution and laws, shall be liable to the party injured in an

                            action at law, suit in equity, or other proper proceeding for redress .... "

                                    A.      Person Acting Under Color of Law

                                    109.    At all relevant times, defendant HRC was acting under color of state law as

                            an entity created by state law, Title 9, chapter 141, 9 V.S.A. §§4551-4556. However, HRC

                            is not an "arm of the state" like a state agency which is protected against suit in federal court

                            under the Eleventh Amendment. HRC is governed by five members who are appointed by

                            the Governor with the advice and consent of the Senate, each for a term of five years. Id.

                            §4551(a)-(b). Members are compensated a maximum of$1,000 per year but not as a state

                            employee. Id. §455l(d); 3 VSA §31 l(a)(2). The Governor does not have the authority to

                            remove members, and the State does not have veto power over HRC actions. The State

                            exercises no control over HRC except for the Governor's appointment of the members, and

                            such authority is not enough to make HRC the functional equivalent of a state agency.

                                    110.    HRC has jurisdiction to investigate complaints of discrimination in violation

                            of Chapter 139, public accommodations and rental and sale of real estate. 9 V.S.A.

                            §4552(b)(l). HRC'sjurisdiction extends to the State "[w]hen the party complained against

                            is a State agency . . ." in fair employment practices and workers' compensation

                            discrimination claims. Id. Accordingly HRC can be, and is, adverse to the State, and

                            pursues litigation against the State for the enforcement ofthese laws. See e.g. Human Rights

                            Comm'n v. State, 2012 VT 88, 11, 192 Vt. 552, 554, 60 A.3d 702, 704 (FEPA disability

                            discrimination against Agency of Transportation); Vt. Human Rights Comm 'n v. State , 2015

                            VT 138, 11,201 Vt. 62, 66, 136 A.3d 188, 192 (FEPA equal wage action against the DOC
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                            and Department of Human Resources). As an adversary of the State, HRC's statutory

                            responsibility to prosecute certain laws prevents it from maintaining any loyalty or ties to

                            the State that would compromise its independence. For HRC staff who are licensed

                            attorneys and as such provide legal advice to HRC relative to any complaints against the

                            State, it would raise ethical conflicts if such staff are also on the State's payroll as

                            employees.

                                    111.   The statutory scheme for HRC does not require the State treasury to pay a

                            judgment against HRC such as a potential judgment for money damages against HRC and/or

                            individually named defendants in this case. HRC is not structured to function like a state

                            agency. As a statutory entity created to enforce certain laws, HRC is a state actor but lacks

                            the relationship, control and intimacy with the State that would render it an "arm of the

                            state" subject to the protection under the Eleventh Amendment.

                                    112.   Defendant Bor Yang through her own individual actions violated the

                            Constitution. Defendant Yang participated in the drafting <?f the Investigative Report, its

                            false findings and recommendations, and signed it. She participated in the change of the

                            conclusion in the First Report from "lack of evidence of discrimination" to the conclusion

                            in the Investigative Report that "grounds existed for discrimination." Defendant Yang

                            participated in the release of the Investigation Report to Seven Days in violation of the law.

                            Defendant Yang similarly violated HRC's rules which provide for limited release of the

                            investigative report to the parties and certain law enforcement agencies:

                                           33.     The complaint and investigative files maintained by the Commission
                                                   are confidential and will only be released to the parties, their
                                                   attorneys and to any state or federal law enforcement agency seeking
Cleary Shahi & Aicher                              to enforce anti-discrimination statutes upon reasonable request. The
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                                                  identities of non-party witnesses may be revealed as part of the
                                                  investigative file upon request unless the executive director has
                                                  determined that there is good cause to protect the witnesses'
                                                  identities. Information, that is otherwise protected from public
                                                  disclosure pursuant to 1 V.S.A. §317 (as from time to time
                                                  amended), may be withheld from the parties and their attorneys or
                                                  provided in redacted form at the discretion of the executive director.

                           (Rules of The Vermont Human Rights Commission, Rule 33, emphasis added). Even with

                           a limited release, defendant Yang had the discretion to redact the names of the troopers but

                           failed to do so because of malice and ill-will. Defendant Yang participated in the scheme

                           with Seven Days, contributed to the Article's contents and covered up the real reasons for

                           the change in conclusion from the First Report to the Investigative Report, all to advance her

                           career at the expense of the reputations and careers of VSP troopers including plaintiff.

                           Defendant Yang individually violated plaintiff's due process liberty interest by labeling him

                           as a racist, damaging his good name, and depriving him of his ability to work as a trooper,

                           all without a hearing or due process. Her conduct was malicious, unlawful, wanton and

                           motivated by ill will. In a posting dated June 5, 2020, on the site of Vermont Commission

                           on Women, defendant Yang exhibited her anti-police bias and agenda by writing, in part:

                                          Now that you are listening, we demand the following:



                                          Immediately terminate officers who have engaged in two or more incidents
                                          of bias in the community.

                           Defendant Yang's comments shows that she has no regard for the due process rights of law

                           enforcement officers and her goal in unlawfully releasing the Investigative Report was to

                           end the careers of plaintiff and other troopers involved with Dr. Clemmons.

Cleary Shahi & Aicher              113.   Defendant Kevin Christie through his own individual actions violated the
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                              Constitution.    Defendant Christie approved the Investigative Report by his vote that it

                              provided grounds to believe VSP had discriminated against Dr. Clemmons on the basis of

                              race and gender. Defendant Christie was aware of the First Report, and knew it was

                              manipulated to generate the false assertions and conclusions in the Investigative Report. In

                              a conference call on April 14, 2021, at the request of DPS Commissioner Michael Schirling,

                              defendant Christie was advised that DPS was "shocked" by the change in the conclusion of

                              the Investigative Report that "[s]tated exactly the opposite of the First Report . . . ."

                              Defendant Christie was advised that changes in the "tone, tenor, and voice" of the

                              Investigative Report suggested the findings were manipulated.              Defendant Christie

                              confirmed that HRC had decided not to pursue litigation against VSP/DPS at that time, and

                              understood that other than the dialogue with him there was no other outlet to raise VSP/DPS

                              concerns or appeal. In less than a month from this conversation, defendant Christie

                              participated in the unlawful release of the Investigative Report and supported the Seven

                              Days' defamatory Article and contributed to its contents. In a letter dated July 28, 2021,

                              defendant Christie ratified the unlawful release of the Investigative Report as well as the

                              false contents of the Investigative Report. He refused to provide plaintiff an opportunity to

                              meet with HRC to discuss clearing his name. Defendant Christie not only approved and

                              ratified the deprivation of plaintiff's liberty interest but denied plaintiff the opportunity for

                              a post-deprivation meeting. Defendant Christie approved the labeling of plaintiff as a racist,

                              damaged his good name, and deprived him of his ability to work as a trooper, all without a

                              hearing or due process. His conduct was malicious, unlawful, wanton and motivated by ill

                              will.
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                                  114.    Defendant Da Capo/Seven Days as a private entity acted in concert with

                           HRC, a state actor, to the extent necessary for liability under section 1983. Defendant Da

                           Capo was a willful participant in HRC's scheme to publicly indict DPSNSP and the

                           troopers including plaintiff with false accusations, to damage their reputations, and to

                           deprive them of their constitutional right to due process. In return for access to an

                           "unpublished" Investigative Report, Da Capo spun the story in HRC's favor and portrayed

                           itself as a source of breaking news. To make the "story" more appealing to its readers and

                           thereby increase the return on its article, Da Capo decided to focus on plaintiff,

                           disproportionally enhance his involvement, place him in a false light, and knowingly and

                           maliciously defame him.

                                   115.   Defendant Da Capo's request to HRC for the Investigative Report was an

                           overt act indicative of the agreement to act in concert. HRC in an executive session

                           discussed and approved the release of the Investigative Report upon request.           Da

                           Capo/Seven Days made the anticipated request on June 10, 2020 and HRC promptly

                           complied.

                                   116.   Consistent with the agreement to act in concert, HRC did not post the

                           Investigative Report on its website to make it available directly to the public at large.

                           According to defendant Yang's communication with Seven Days, investigative reports

                           become public upon a determination of discrimination. Yet the Investigative Report was

                           first released to the press starting with Da Capo/Seven Days. The attempt by HRC to

                           manipulate the release of the Investigative Report was part and parcel of its scheme and

                           conduct in concert with Da Capo/Seven Days.
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                                   117.   Da Capo acknowledged in its article its early access to the Investigative

                           Report by noting it was "unpublished" by HRC. This came in the opening sentence of the

                           Article: "In an unpublished report, the Vermont Human Rights Commission has found ..

                           . ." (Seven Days Article, 6/23/21, emphasis added). The Article added: "The Human Rights

                           Commission's report was never made public and does not appear on the public body's

                           website." The fact that the Investigative Report was not made public from June 10, 2021

                           when it was given to Da Capo/Seven Days, to June 23, 2021 when the Article was

                           published, and_ Da Capo/Seven Days knew the Investigative Report had remained

                           "unpublished" by the time it "broke" the story, is further evidence of the scheme and action

                           in concert with HRC.

                                   118.   Da Capo/Seven Days knew as a matter oflaw the Investigative Report was

                           confidential. 9 V.S.A. §4555. The controlling statute, 9 V.S.A. §4555, clearly states in

                           subsection (a)( 1) that with certain exceptions, "[t]he Human Rights Commission's complaint

                           files and investigative files shall be confidential." The exceptions address the release of the

                           investigative file to the parties and law enforcement agencies. Subsection (c) provides: "If

                           the Commission determines that there are reasonable grounds to believe that discrimination

                           has occurred, that determination and the names of the parties may be made public after the

                           parties have been notified of the Commission's determination." 9 V.S.A. §4555(c). Had

                           HRC complied with the law and its own rules, it would have made public the determination

                           that it concluded there was reasonable ground for discrimination on the basis of race and

                           gender in a complaint brought by Dr. Clemmons against DPSNPS. The Investigative

                           Report and the names of the individual troopers would not have been disclosed publicly.
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                                    119.    The reason for the confidentiality of investigative reports is commonsensical

                            and reasonable. Investigative reports are written by HRC staff without the checks and

                            balances associated with an adversarial process and due process. The author(s) can be

                            wrong, ill informed, or act maliciously with an agenda. Individual witnesses who were

                            compelled by the investigative authority of HRC to provide evidence are identified in the

                            reports, and they may become, as did plaintiff in this case, the subject of personal, ad

                            hominem, attacks without the right and opportunity to defend themselves. Confidentiality

                            is a check against government abuse of witnesses and their defamation. Witnesses such as

                            plaintiff did not enjoy the traditional due process rights such as notice, hearing,

                            confrontation and examination of witnesses, and presentation of evidence. Da Capo/Seven

                            Days was aware of the vulnerability of named witnesses in such investigative reports.

                                    120.    The statutory provisions applicable to HRC are readily available in Title 9,

                            chapter      141,   and     can   be    accessed    online    m    a   matter    of minutes.

                            <https://legislature.vermont.gov/statutes/title/09>. Chapter 141 is entitled "Human Rights

                            Commission" and consists of six sections, §§4551-4556. The heading for section 4555

                            includes "disclosure, confidentiality." A glance at the headings of each section guides the

                            reader to the applicable statute which can be easily read and understood. Not only was Da

                            Capo/Seven Days charged with the knowledge of the law but the information was readily

                            available.

                                    121.    The Seven Days article included the following statement by defendant Yang:

                                                      "That report is made available to the public upon request but there is
                                                      no obligation on the HRC's part to post anything on our website or
                                                      to otherwise announce the decision," she wrote. "A decision was
Cleary Shahi & Aicher                                 made to not post this report on our website but to make it available
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                                                   upon request. The basis for that decision was discussed in executive
                                                   session."

                           Id Seven Days published this statement to distract the readers from its arrangement with

                           HRC. The unsuspecting reader was taken to a supposed HRC decision made at an executive

                           session which would thereby end speculation as to the reason Seven Days received the

                           Investigative Report.

                                   122.   Da Capo knew Dr. Clemmons did not want the Investigative Report to be

                           made public. The Article indicated that per defendant Christie, the "Clemmons had

                           requested the report not be made public ... , " adding that "the family was concerned about

                           reactions to the report from both the general public and the former tenant." Id. Defendant

                           Christie in his July 28, 2021, letter stated that HRC's typical practice was to post the

                           investigative reports but in Dr. Clemmons' case it decided not to do so---"[t]he departure

                           from typical practice is that the HRC did not post this investigative report on its website due

                           to concern of harassment by the complainant." (Christie 7/28/21 letter). Da Capo/Seven

                           Days was conveniently resigned to the inconsistency in defendant Christie's story that the

                           Investigative Report was not posted online out of concern for the Clemmons family but

                           instead it was made available to the press for even greater publicity. Seven Days did not

                           advise its readers that HRC was not even required to make public its determination that

                           reasonable grounds existed for discrimination. 9 V.S.A. §4555(c)(use of permissive

                           language "may be" relative to HRC's decision to make public its determinations and the

                           names of the parties). The Article failed to advise the readers that HRC rules did not

                           provide for the online posting of investigative reports. The publication of Christie's story
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                           without challenge was yet another effort to distract from the deal between Seven Days and

                           HRC.

                                   123.   Da Capo/Seven Days sensationalized the story by a disclosure under

                           the guise of "transparency" to create a fake moment of editorial intimacy with its readers,

                           and share that it too was concerned about the harassment of the Clemmons family resulting

                           from the publicity that they did not want. Seven Days reported that after a discussion

                           amongst its news editors and consultation with a journalism ethics specialist in Wisconsin,

                           it was persuaded by the "newsworthiness" of the story told in the Investigative Report:

                                          For the sake of transparency, we want to publicly note the factors that
                                          influenced our decision to publish a story two weeks after obtaining the
                                          report. Those include the newsworthiness of the story and the fact that it
                                          involves a public report prepared by a public body that raises concerns about
                                          the Vermont State Police - at a time when Vermonters are engaged in
                                          vigorous discussions and debate about systemic racism.

                           Id. To add a sense of public mission, Seven Days misled the readers by describing the

                           Investigative Report as a "public report." The entire charade about Da Capo/Seven Days

                           and HRC having been concerned about the well-being of the Clemmons family and having

                           struggled with the difficult question ofhowto best serve the public on such an important and

                           timely story, was to sensationalize the story and self-promote, another indication of action

                           in concert.

                                   124.   Da Capo/Seven Days failed to disclose to its readers as part of the feigned

                           transparency many important points including but not limited to:

                                          (a)     the identity of the person who had tipped it to request the
                                                  Investigative Report for a HRC determination made three months
                                                  earlier,
Cleary Shahi & Aicher                     (b)     what was the date of the HRC executive session to approve the
    110 Merchants Row                             release of the Investigative Report upon request, given that "Seven
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                                           Days requested the report on June 10, and commission staff emailed
                                           it that day," (Seven Days Article 6/23/21),
                                     (c)   that the Investigative Report by law was confidential,
                                     (d)   the inconsistencies in HR.C's story as well as it rules regarding
                                           posting and releasing upon request the investigative reports and the
                                           process in Dr. Clemmons' case (see above),
                                     (e)   that investigator Campbell was no longer with HRC,
                                     (f)   that investigator Campbell was not contacted to check whether she
                                           had changed the conclusions of the First Report or the changes were
                                           made by her superiors under her electronic signature and falsely
                                           attributed to her,
                                     (g)   what was the actual evidence that supposedly came to the attention
                                           of HRC between July and November 2020 which caused the 180
                                           degree flip-flop in the conclusions that were reached over the course
                                           of the preceding three years of investigation,
                                     (h)   a link to the First Report along with a link to the Investigative
                                           Report,
                                     (i)   that the individual troopers named in the Investigative Report had not
                                           been given the opportunity to defend themselves against the serious
                                           accusations of race and gender discrimination,
                                     G)    the identities of the "[s]everal members of the public [who]
                                           subsequently [after June l0]contacted us [Seven Days] to express
                                           worry that writing about the report could endanger the Clemmons
                                           family"?
                                     (k)   why did HRC decide not to abide by the Clemmons family wish to
                                           keep the Investigative Report confidential,
                                     (1)   how did these supposed members of the public become aware of the
                                            contents of the Investigative Report which per Seven Days had not
                                           been made public?
                                     (m)    why Seven Days did not contact plaintiff for his comments when the
                                           journalism ethics specialist it consulted would have advised that the
                                            Code of Ethics for the Society of Professional Journalist provides
                                            "Diligently seek subjects of news coverage to allow them to respond
                                           to criticism or allegations of wrongdoing."
                                     (n)    Josh Clemmons who was present during some of the VSP
                                            interactions including plaintiff's on October 22, 2017, did not believe
                                            there was any discrimination by the troopers irncluding the plaintiff,
                                            and so indicated to HRC. Josh Clemmons' impression was that
                                            plaintiff had done outstanding work and solved the problem on the
                                            October 22, 2017, kitchen encounter by de-escalating the situation.
                                     (o)    Dr. Clemmons had leveraged the situation with the Tenant for fund
                                            raising under the false guise of a black family left unprotected by the
Cleary Shahi & Aicher                       police.
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                                     125.   Consistent with its arrangement with HRC, Da Capo/Seven Days wrote a

                            biased article that favored HRC and falsely portrayed HRC' s involvement and findings. In

                            addition to the above omissions and misrepresentations noted in paragraph 124, Da

                            Capo/Seven Days engaged in the following, without limitation, to spin the story in HR.C's

                            favor:

                                            (a)    misrepresented the news story with the headline: "Vermont State
                                                   Police Discriminated Against Black Woman Who Runs Clemmons
                                                   Family Farm, Commission Says." The objective headline would
                                                   have been akin to: "Vermont Human Rights Commission Struggles
                                                   with Mismanagement and Keeping True to its Mission."
                                            (b)    misrepresented HRC' s mission as "[e]nforcing the state's civil rights
                                                   laws." (Seven Days article, 6/23/21). Seven Days knew HR.C's
                                                   charge is limited to complaints of discrimination in violation of
                                                   FHPA, and in certain cases against the State. 9 V.S.A. §4552(b)(l).
                                                   Seven Days exaggerated HR.C's charge to avoid the complex issue
                                                   ofthe applicability of public accommodations laws to police services
                                                   and the standard or metrics used to determine potential
                                                   discriminatory denial of services.
                                            (c)    failed to disclose that HRC had manipulated/influenced Seven Days
                                                   to violate the confidentiality of the Investigative Report.
                                            (d)    failed to disclose that HRC was seeking publicity for self-promotion
                                                   and political gain, contrary to its statutory charge to educate and
                                                   resolve complaints.
                                            (e)    failed to address the true reason behind the flip-flop in conclusions
                                                   between the First Report and the Investigative Report, and whether
                                                   it was the result of corruption and influence.
                                            (f)    covered up the story behind potential disagreements at HRC about
                                                   the First Report by publishing, without challenge, Bor Yang's
                                                   generic explanation that it is "not unusual for a staff attorney to sway
                                                   back and forth as they consider new and evolving evidence in a
                                                   case." (Seven Days article, 6/23/21).
                                            (g)    misrepresented the findings of the Investigative Report as "bluntly
                                                   worded" when the Investigative Report was a rambling, biased,
                                                   conflicted, unmanageable document that contained absurdities such
                                                   as the observation that plaintiff had referred to the conditions of
                                                   release as "gray" in a situation involving a "black" person.
                                            (h)    emphasized at the beginning and throughout the Article, HRC' s false
                                                   premise that VSP had "allowed" the Tenant to "prey on" and
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                                                   "terrorize" Dr. Clemmons and "destroy" a Farm building. Id Seven
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                                           Days knew that VSP had no authority to control the Tenant's conduct
                                           or unilaterally "remove" him for any extended period of time from
                                           the Farm. Id. Seven Days failed to explain to its readers the limited
                                           power of law enforcement to physically remove people from their
                                           homes. Seven Days failed to tell its readers that the police power
                                           expected by HRC was unconstitutional, abusive, contrary to the
                                           separation of powers and the liberties and freedoms of the people.
                                     (i)   failed to challenge HRC's exaggeration of the Tenant's conduct by
                                           noting there was no physical violence by the Tenant and the scope of
                                           the actual damage to the Barn House.
                                     G)    failed to report the ongoing involvement of two State Attorney's
                                           offices in Windsor and Chittenden counties with the authority to
                                           charge the Tenant, formulate the conditions of release and seek other
                                           relief from the courts,
                                     (k)   omitted that these State Attorneys had considerably more access to
                                           the courts-the institution that has the final authority to deprive
                                           individuals of their freedom; and that essentially these State
                                           Attorneys did nothing to help Dr. Clemmons,
                                     (1)   failed to report that even Dr. Clemmons' private attorney was unable
                                           to obtain a restraining order from the court until December 14, 2017,
                                           and the court hearing was not held until December 28, 2017.
                                     (m)   failed to report that in a state that disfavors incarceration of its people
                                           particularly those in need of mental health services, the question was
                                           whether it was realistic to expect the Tenant to be imprisoned by the
                                           courts for his alleged conduct,
                                     (n)   failed to raise the question of whether it was reasonable for HRC to
                                           blame VSP for "allowing" the Tenant to harass Dr. Clemmons when
                                           in actuality the State Attorneys did not prosecute and the courts did
                                           not incarcerate him.
                                     (o)   misled its readers about the significance of Dr. Clemmons' situation
                                           which while upsetting to her, was (as the First Report indicated) a
                                           common type of tit-for-tat conflict seen daily in courts regardless of
                                           race. Seven Days falsely elevated the significance of Dr. Clemmons
                                           quarrel with the Tenant by equating it with the George Floyd case:
                                           "This particular report, regarding Vermont's largest police agency,
                                           lands in the midst of a national reckoning on policing and race. Even
                                           before a Minneapolis police officer killed George Floyd, a Pew
                                           Research Center poll found that 84 percent of Black adults and 63
                                           percent of white adults felt police treat Black people less fairly."
                                     (p)   misled its readers on the issue of race by publishing, without
                                           challenge, Dr. Clemmons' remark that "Had her family been white,
                                           ... , the authorities would have removed Barreda immediately from
Cleary Shahi & Aicher                      the family farm." According to investigator Campbell, there was no
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                                                   comparable case of police treatment of a white family. Id. if95,
                                                   supra.
                                           (q)     misled its readers on the issue of race by publishing, without
                                                   challenge, that "The Clemmons report echoes complaints that Kiah
                                                   Morris made regarding the Bennington Police Department." There
                                                   was no allegation or evidence that the Tenant, unlike the perpetrator
                                                   in Kiah Morris' situation, was motivated by racism. The Bennington
                                                   PD was accused of the failure to properly respond to a claim of racist
                                                   harassment of a black person. The "Clemmons report" shows
                                                   numerous VSP resources and staff devoted to a landlord-tenant
                                                   quarrel with no racial dynamics. HRC concluded that VSP had
                                                   discriminated against Dr. Clemmons because it did not act like a
                                                   para-military force in a banana republic to make the Tenant
                                                   "disappear."
                                           (r)     misrepresented that one reason for investigator Campbell's change
                                                   of the conclusion in the First Report was a September 23, 2020
                                                   posting on VSP Facebook about the lyrics of a song. The posting
                                                   happened to be on the same day the authorities in Louisville,
                                                   Kentucky, announced no charges for police shooting of a black
                                                   woman. The Facebook posting was noted in footnote #309 of the
                                                   Investigative Report in context of the writer's rant and unwarranted
                                                   attack on Lt. Lucas. (Investigative Report, pp.96-97). The passage
                                                   that the investigator changed her mind (supposedly) as "the evidence
                                                   kept coming in" appeared in another paragraph on a different topic.
                                                   Seven Days focused on the irrelevant contents of footnote #309 to
                                                   enhance the prejudicial and false character of the Article.

                                    126.   Defendants shared the common unlawful goal of publicly disseminating the

                            Investigative Report and thereby grabbing an anti-law enforcement headline that fit the

                            current national issues with racial justice. As a result defendants damaged the reputations

                            and the ability to work in law enforcement of the troopers involved including plaintiff. Da

                            Capo posted the Investigative Report, published a misleading and exaggerated article lacking

                            balance and input from the accused troopers such as plaintiff, failed to post the First Report,

                            and falsely elevated HRC's investigation of a landlord-tenant quarrel to be on par with

                            national issues such as the murder of George Floyd. All this was part of an agreement
Cleary Shahi & Aicher
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                                    B.      False and Stigmatizing Statements about Plaintiff

                                    127.    Defendants HRC, Yang and Christie falsely accused plaintiff in the

                              vestigative Report as a racist, and unlawfully made the false accusation public. See ,rs 3 8-

                            43, 45-48, 50-51, 60-64, 78-79, 83, 86-88, and 92.          HRC devoted a section of the

                            Investigative Report to plaintiff, starting with the false statement that "Cpl. Andrew's [sic]

                            Leise's treatment of Dr. Clemmons and Josh Clemmons on October 22 and beyond, in

                            contrast to his treatment of Barreda, is a significant example of disparate treatment based

                            on race, color, and sex." (Investigative Report, p.88). The Investigative Report falsely

                            concluded: "Leise's treatment of Barreda and his treatment of both Clemmons, particularly

                            Dr. Clemmons, is not evidence of professional conduct - it is evidence of pretext and it is

                            proof of discrimination against Dr. Clemmons on the basis of race, color, and sex." Id p.90.

                            Josh Clemmons, however, did not believe there was any discriminatory or racist conduct by

                            plaintiff, and maintained his position that Cpl. Leise had done an outstanding job in

                            addressing the situation with the Tenant. HRC downplayed and/or disregarded the critical

                            evidence from Josh Clemmons, and falsely branded plaintiff as having discriminated against

                            him and his sister on the basis of race. The accusation that a public employee particularly

                            a law enforcement officer is racist is a serious stigma, one that denigrated plaintiff's

                            competence as a professional trooper and impugned his professional reputation in such a

                            fashion as to effectively put a significant roadblock in his continued ability to engage in his

                            profession as a law enforcement officer.

                                    128.   Defendant Da Capo's focus on plaintiff in the Seven Days article was to

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                            personalize the face of the targeted law enforcement agency for the "bogeyman" effect with

                            its readers which in tum would stimulate interest in the story. Defendant Da Capo not only

                            acted in concert and conspiracy with HRC to deprive the troopers and plaintiff of their due

                            process rights but singled out plaintiff to personally abuse him for a more appealing story.

                                   129.    Plaintiff was one trooper out of some dozen who were involved and

                            wrongfully accused of racism in the Investigative Report. Yet Seven Days focused only on

                            plaintiff, named him, and in a misleading manner described his encounters with the parties.

                            Seven Days falsely highlighted plaintiff's conduct as racist. Plaintiff harbors no prejudice

                            or bias against others for their race, ethnicity or gender.      He has been proactive in

                            participating in fair and impartial policing practices as an informal FIP barracks leader

                            within the Vermont State Police directly under a VSP Commander. Like many Americans,

                            plaintiff's extended family includes people of color and ethnicity, and he harbors no racist

                            beliefs or sentiments.

                                    130.   In addition to the misrepresentations and/or omissions listed in paragraphs

                            124 and 125 which contributed to the false article, Seven Days specifically presented

                            plaintiff's involvement in a false and misleading light in a number of ways including,

                            without limitation:

                                           (a)       omission that the amended conditions of release that imposed a 3 00'
                                                     barrier had not been served on the Tenant by the time of the kitchen
                                                     encounter on October 22, 2017, and therefore the Tenant could not
                                                     have been arrested or cited criminally (141, supra);
                                           (b)       omission that Dr. Clemmons had held a number of events in mid-
                                                     October with over 60 guests at the Farm, threatened the Tenant to
                                                     report him to VSP if any disruption, and there was not any (1s31-35,
                                                     supra);
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                                     (c)    omission that on October 22, 2017, the Tenant was already in the
                                            kitchen before Dr. Clemmons chose to enter the kitchen to set up her
                                            call to VSP that the Tenant was within 300' of her ('i[37, supra);
                                      (d)   omission that upon his arrival and learning both parties had access to
                                            shared areas, plaintiff commented the conditions of release were
                                            "gray" under circumstances, and the Investigative Report suggested
                                            the use of "gray" with a "black" person showed racial bias. ('i[43,
                                            supra; Investigative Report p.20). Had Seven Days reported this
                                            absurd observation, the credibility of HRC and its findings would
                                            have been eroded in general and specifically as to plaintiff;
                                      (e)   omission that the reason plaintiff sought the Tenant's cooperation to
                                            move his belongings from the kitchen and helped him, was to satisfy
                                            Dr. Clemmons' demand that the kitchen be cleared by the time of
                                            arrival of her guests at 9:00 a.m. ('i[40, supra). Seven Days gave the
                                            false impression that plaintiff was eager to be friendly and helpful to
                                            the Tenant because Dr. Clemmons was black;
                                      (f)   omission that Josh Clemmons expressed to plaintiff that he went
                                            above and beyond for helping to move the Tenant's belongings out
                                             of the hallway so that Dr. Clemmon's event could begin on time.
                                      (g)    omission that Dr. Clemmons by email thanked plaintiff for his help
                                             on October 22, 2017. (Investigative Report, p.21 ).
                                      (h)    omission that investigator Campbell in First Report found Dr.
                                             Clemmons lacked credibility. Specifically, relative to the encounter
                                             with plaintiff and Sgt. Ravelin on November 15, 2017, the
                                             investigator told Dr. Clemmons : "[t]he audio presents a version of
                                             the encounter that is at variance with your account of it and the
                                             assertions made in the complaint and interview." Id 'i[99, supra.
                                             Seven Days, however, reported the Investigative Report found
                                             evidence of racial bias by plaintiff because he "doubted her [Dr.
                                             Clemmons'] honesty." This aspect of the article coupled with the
                                             omission that the investigator had also questioned Dr. Clemmons'
                                             credibility placed plaintiff in a false light.
                                      (i)    omission that afterreceipt of the First Report, Dr. Clemmons advised
                                             the investigator for the first time she was falsely polite to the "white"
                                             troopers because as a black woman she was in fear of incarceration.
                                             This explanation should have raised red flags because the credibility
                                             concern was not so much Dr. Clemmons' behavior but her
                                             description to the investigator of the behavior of plaintiff and Sgt.
                                             Ravelin. (Investigative Report, p.39). Seven Days should have
                                             informed its readers that it appeared Dr. Clemmons had played the
                                             race card with HRC.
                                      G)      omission that investigator Campbell described the tones of plaintiff
                                              and Sgt. Ravelin on the November 15, 2017, encounter with Dr.
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                                              Clemmons as "professional, polite and informative" Id ,rs 61, 99,
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                                            supra. Instead Seven Days reported criticism of plaintiff's tone
                                            toward Dr. Clemmons, and that according to an associate professor
                                            in linguistics, plaintiff's speech reflected "the systemic racism and
                                            implicit racial bias that characterize institutions in the United States."
                                      (k)   misrepresentation by implication that an associate professor in
                                            linguistics is qualified to opine on plaintiff's state of mind, and her
                                            opinion is legally relevant to the standard for showing discrimination
                                            under the statute in question.
                                      (1)   omission that on November 15, 2017 after serving Dr. Clemmons
                                            with the TRO, plaintiff and Sgt. Ravelin visited the Tenant and
                                            treated him in a threatening manner and urged him to move out. Id.
                                            ,I63, supra.
                                      (m)   failure to report that on the November 15, 2017, visit with Dr.
                                            Clemmons, plaintiff complimented her art collection and made small
                                            talk, all in an effort to ease her upset for having become the subject
                                            of a court issued restraining order. Id. ,I64, supra.
                                      (n)   failure to report that Dr. Clemmons said to plaintiff: "Thank you, I
                                             appreciate your service, and I didn't know how much you guys
                                             actually do in terms of the dialogue, and it's so time consuming, but
                                             I really appreciate it." Id. ,rs 62,104, supra.
                                      (o)    failure to report that in every of the handful of encounters with Dr.
                                             Clemmons, plaintiff attempted to be helpful and responsive in a
                                             professional manner. Id. ,Il 04, supra.
                                      (p)    failure to report that at the outset of his involvement, plaintiff on
                                             10/23/17 had issued an internal email to express caution about the
                                             treatment of both the Tenant and Dr. Clemmons as members of a
                                             protected class: "I just don't want to see someone go down, arrest
                                             someone, and then the ACLU gets involved due to both parties
                                             backgrounds, etc. and that the biased state police made a bad
                                            judgement call." Id. ,rs 45, 95, supra.
                                      (q)    failure to report that on December 7, 2017, plaintiff spent many
                                             hours including his personal off-duty time to address the tension
                                             between Dr. Clemmons' security firm and the Tenant, and did so
                                             without siding with the Tenant and issuing a criminal citation to the
                                             security firm or Dr. Clemmons. Id. ,I79, supra.
                                      (r)    omission that Seven Days did not contact plaintiff for his comments,
                                             and the process before HRC is such that plaintiff did not have the
                                             rights of the parties.
                                      (s)    omission that Josh Clemmons who was present during some of the
                                             VSP interactions including plaintiff's on October 22, 2017, did not
                                             believe there was any discrimination by the troopers imcluding the
                                             plaintiff, and so indicated to HRC. Josh Clemmons' impression was
                                             that plaintiff had done outstanding work and solved the problem on
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                                                  the October 22, 2017, kitchen encounter by de-escalating the
                                                  situation.
                                           (t)    omission that Dr. Clemmons had leveraged the situation with the
                                                  Tenant for fund raising under the false guise of a black family left
                                                  unprotected by the police.

                                   C.      Stigma-Plus Without Due Process

                                   131.    Official government actions that are akin to the adjudication of disputed facts

                            in particular cases are subject to the requirements of procedural due process. United States

                            v. Florida East Coast Ry. Co., 410 U.S. 224, 245, 93 S. Ct. 810, 821, 35 L. Ed. 2d 223

                            (1973). The issuance of the Investigative Report and the determination of reasonable

                            grounds for discrimination by HRC on March 25, 2021, were adjudicative as they made fact

                            findings in a particular complaint asserted by Dr. Clemmons as detailed above.

                                    132.   The Fourteenth Amendment protects the liberty interest of public employees

                            such as plaintiff when their reputation and standing in the community are seriously damaged

                            or current employment and/or future employment opportunities are lost as a result of

                            government action. Bd. ofRegents ofState Coils. v. Roth, 408 U.S. 564, 573-74, 92 S. Ct.

                            2701, 33 L. Ed. 2d 548 (1972). "[T]o constitute deprivation of a liberty interest, the

                            stigmatizing information must be both false ... and made public ... by the offending

                            governmental entity." Quinn v. Syracuse Model Neighborhood Corp., 613 F.2d 438,446

                            (2d Cir. 1980). The requisite stigma is present when the government accuses a government

                            employee publicly and falsely of racism.

                                    133.   The false and defamatory public impression of plaintiff as a racist created by

                            HRC and publicized and compounded by Seven Days severely damaged plaintiffs

Cleary Shahi & Aicher       reputation, standing in the community, and his ability to continue his career as a law
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                           enforcement officer. HRC and Seven Days imposed an indelible stigma on plaintiff and his

                           impeccable reputation, good name, honor and integrity as a law enforcement officer and

                           effectively ended his career.

                                   134.   As a result of the release of the Investigative Report and the Seven Days

                           Article, plaintiff has been unable to return to work as a VSP trooper. The "badge ofinfamy"

                           imposed on plaintiff by HRC has substantially impaired his ability to safely and effectively

                           operate as a law enforcement officer in the community and the criminal justice system. A

                           law enforcement officer labeled by a state commission such as HRC as a racist, a label

                           compounded by a news article online will not be acceptable as a witness by prosecutors or

                           the judiciary. Defendants' actions are tantamount to plaintiff's constructive discharge as any

                           reasonable law enforcement officer in his position would find it intolerable to continue to

                           work as a trooper. Plaintiff's job was protected under state law by requirement of a showing

                           of cause before he can be terminated. Plaintiff has suffered a loss of income as a result of

                           defendants' conduct. Plaintiff has been seeking employment in positions that do not involve

                           his engagement with the public while wearing a VSP uniform. By and large these positions

                           offer lower pay and benefits, and are less prestigious.

                                   135.    Stigma-plus is present in plaintiff's case with public allegations that

                           "'[d]enigrate the employee's competence as a professional and impugn the employee's

                           professional reputation in such a fashion as to effectively put a significant roadblock in that

                           employee's continued ability to practice his or her profession.' Gordon v. Nicoletti, 84 F.

                           Supp. 2d 304, 311 (D. Conn. 2000); accord Donato v. Plainview-Old Bethpage Cent. Sch.

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                           Dist., 96 F.3d 623, 630-31 (2d Cir. 1996)." Martinezv. CityofNY, 2003 U.S. Dist. LEXIS
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                            7295, at *19-20 (S.D.N.Y. Apr. 29, 2003). As required in this Circuit for stigma-plus, there

                            is a "[t]angible and material state-imposed burden or alteration of his or her [plaintiffs]

                            status or of a right .... " Doe v. Dep't of Pub. Safety ex rel. Lee, 271 F.3d 38, 47 (2d Cir.

                            2001).

                                     136.   The actions of the defendants have ended plaintiffs prospect for future

                            employment in law enforcement. Stigma-plus exists when some of the consequences of the

                            stigmatizing conduct are potential and may be realized in future. Donato v. Plainview Old

                            Bethpage Cent. Sch. Dist., 96 F.3d 623, 632 (2d Cir. 1996) (stigma-plus satisfied where

                            "[p ]otential future employers undoubtedly will consult plaintiffs prior employer" and

                            discover the stigmatizing statements).

                                     137.   The stigma-plus imposed by HRC (a state actor) on plaintiff (a state

                            employee), is not analogous to any action that can be taken by a private actor. The "Human

                            Rights Commission" is a generally trusted governmental function, and the decisions of a

                            Human Rights Commission can be viewed by the public with a sense of fairness, neutrality

                            and absence of political influence. HRC is tasked with discharge of statutory responsibilities

                            including investigation, subpoena power, authority to compel testimony and access to

                            documents, and pursuit of prosecutions even against the State. 9 V.S.A. §4553. A private

                            actor has no such authority or cachet. A private actor may be capable of making defamatory

                            statements but lacks the authority and the credentials of HRC to impose the "badge of

                            infamy" of racism on individuals by unlawfully releasing an investigative report. Individual

                            defendants because of their positions with HRC were able to impose the loss of plaintiffs

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                           reputation and career in law enforcement. Identical actions to HR.C's could not have been

                           undertaken by a private actor. Doe, supra, 54.

                                  13 8.   Plaintiff was not afforded any hearing or opportunity to clear his name before

                           or after the release of the Investigative Report by HRC to Seven Days on June 10, 2021.

                           "Where a person's good name, reputation, honor, or integrity is at stake because of what the

                           government is doing to him, notice and an opportunity to be heard are essential." Wisconsin

                           v. Constantineau, 400 U.S. 433,437, 91 S.Ct. 507, 27 L.Ed.2d 515 (1971). "Only when the

                           whole proceedings leading to the pinning of an unsavory label on a person are aired can

                           oppressive results be prevented." Doe, supra, 51-52. Cf Stone v. Town ofIrasburg, 2014

                           VT 43,132, 196 Vt. 356, 369, 98 A.3d 769, 778.

                                   139.   On July 29, 2021, HRC through defendant Christie declined to meet with

                           plaintiff to discuss with him the restoration of his reputation. Defendant Christie thereby

                           reaffirmed the defendants' malice and ill-will toward plaintiff, and deprived plaintiff of the

                           opportunity for a post-deprivation name-clearing. Stone v. Town ofIrasburg, 2014 VT 43,

                           135, 196 Vt. 356, 371, 98 A.3d 769, 779.

                                   140.   Defendants' conduct violated clearly established statutory and constitutional

                           rights of which a reasonable person in their position would have known. Defendants'

                           conduct was not objectively reasonable.

                                  D.      Damages Caused by Defendants

                                   141.   As a result of the violation of plaintiffs constitutional due process right in

                           liberty interest, plaintiff has suffered and will continue to suffer loss of income for the

                           remainder of his work life. Plaintiff has been unable to wear his service uniform and resume
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                           his work as a trooper with the public label of racist unlawfully imposed on him by the

                           defendants. No reasonable law enforcement officer in plaintiffs circumstances can be

                           publicly branded as a racist and continue to wear his service uniform with a sense of respect

                           and dignity that the job demands. Plaintiffs career of nearly 22 years with an impeccable

                           record was ended by defendants' actions.

                                   142.    Plaintiff seeks compensatory damages for loss of income for the balance of

                           the career he would have enjoyed with VSP until retirement. He also seeks what is

                           described in the case law as "garden variety" emotional damages for upset, humiliation,

                           embarrassment and damage to his good name. To the extent not inconsistent with an award

                           of compensatory damages, plaintiff seeks nominal damages for the violation of his

                           constitutional rights. Had HRC and Seven Days complied with the law, plaintiff who was

                           not individually a party before HRC, would not have become personally the subject of public

                           humiliation and disgrace by the defendants. Plaintiff further seeks recovery of his attorney's

                           fees, interest, and costs.

                                   E.      Punitive Damages

                                   143.    Defendants' conduct was malicious, intentional, willful, wanton and

                           exhibited ill will toward plaintiff. HRC and its leadership intentionally acted illegally by

                           publicly releasing the Investigative Report, intentionally violated plaintiffs constitutional

                           rights, violated its statutory obligations and betrayed its public trust by engaging in

                           manipulative behavior and self-promotion, and was guided by racist values. Seven Days

                           was motivated by profit and self-promotion as a news organization. Defendants chose to

Cleary Shahi & Aicher      destroy plaintiffs career in law enforcement and crush his reputation because of his race and
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                            uniform. It did not matter to the defendants that plaintiff had invested his entire career of

                            nearly 22 years in law enforcement, had pride in service to the public and was able to

                            support his family. Plaintiff was targeted as a representative of the "white police" to pay a

                            price for defendants' political agenda.      Punitive damages are appropriate to punish

                            defendants and deter others from such conduct.

                                                      COUNT TWO
                                (VIOLATION OF PROCEDURAL DUE PROCESS CLAUSE-PROPERTY
                                                 INTEREST, 42 U.S.C. §1983)

                                    144.   Plaintiff refers to and incorporates the allegations in paragraphs 1-143.

                                    145.   "The Fourteenth Amendment places procedural constraints on the actions

                            of government that work a deprivation of interests enjoying the stature of 'property' within

                            the meaning of the Due Process Clause." Memphis Light, Gas and Water Div. v. Craft, 436

                            U.S. 1, 9, 98 S. Ct. 1554, 56 L. Ed. 2d 30 (1978).

                                    146.    Plaintiff's job as a VSP trooper was protected under state law, and he could

                            not be discharged without just cause. Locurto v. Safir, 264 F.3d 154, 171 (2d Cir. 2001)

                            (noting that public employees terminable only for cause have a "constitutionally protected

                            property interest in their tenure"; accordingly they are to be provided with "notice and

                            opportunity for a hearing." citing Cleveland Bd ofEduc. v. Loudermill, 470 U.S. 532, 542,

                            105 S. Ct. 1487, 84 L. Ed. 2d 494 (1985)).

                                    147.    By unlawfully releasing the Investigative Report to the press, defendants

                            HRC, Christie and Yang, as detailed above, placed a false "badge of infamy" on plaintiff as

                            a racist without providing him with notice, a hearing and due process. Defendant Da Capo

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                             articipated in the violation of plaintiff's due process constitutional right by publishing the

                              vestigative Report as well as the article that enhanced the false allegations against plaintiff.

                                    148.    As a result of defendants' violation of plaintiff's due process rights,

                             laintiff s work conditions became intolerable as he can no longer function effectively and

                            safely as a law enforcement officer. Plaintiff's career in law enforcement has ended. The

                            defendants were motivated by ill will and intended to deprive plaintiff of his due process

                            right by inditing him publicly and preventing him from defending himself. Defendants did

                            not expect that a trooper like plaintiff would have the will to assert his legal rights when

                            steamrolled by a negative public reaction to the charge of racism. The plan and expectation

                            of the defendants was that VSP and its troopers including plaintiff would suffer, without

                            asserting their legal rights, the public humiliation delivered by the false findings of racism

                            which a biased news source like Seven Days would not challenge.

                                    149.    Plaintiff's job as a trooper was effectively taken from him by defendants'

                            unlawful, wanton and deliberate actions. Plaintiff was deprived of his property interest in

                            his employment as a trooper without any due process oflaw. As a result he has suffered loss

                            of income and will have future losses and other consequential economic losses. Plaintiff

                            seeks recovery of compensatory and punitive damages per the allegations in paragraph 141-

                            143 incorporated here. Plaintiff seeks recovery of his attorney's fees, interest and costs.

                                                     COUNT THREE
                              (VIOLATION OF SUBSTANTIVE DUE PROCESS CLAUSE, 42 U.S.C. §1983)

                                    150.    Plaintiff refers to and incorporates the allegations in paragraphs 1-149.

                                    151.    "Substantive due process protects individuals against government action that
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                           is arbitrary, conscious-shocking and oppressive in a constitutional sense, but not against

                           governmental action that is incorrect or ill-advised. (Citations)" Lowrance v. C. 0. S. Achtyl,

                           20 F.3d 529,537 (2d Cir. 1994). See also Rosa R. v. Connelly, 889 F.2d 435,439 (2d Cir.

                           1989) (requiring evidence that official action was "arbitrary or irrational or motivated by bad

                           faith"), cert. denied, 496 U.S. 941, 110 L. Ed. 2d 671, 110 S. Ct. 3225 (1990). The due

                           process clause "was intended to prevent government 'from abusing [its] power, or

                           employing it as an instrument of oppression."' DeShaney v. Winnebago County Dep't of

                           Social Services, 489 U.S. 189, 196, 103 L. Ed. 2d 249, 109 S. Ct. 998 (1989)(quoting

                           Davidson v. Cannon, 474 U.S. 344, 348, 88 L. Ed. 2d 677, 106 S. Ct. 668 (1986).

                                   152.    The scheme detailed above involving the defendants constituted government

                           action that violated       plaintiffs   substantive   due    process,   and    was   arbitrary,

                           conscious-shocking, irrational, oppressive and motivated by bad faith in a constitutional

                           sense. Defendants deliberately and intentionally devised a plan that manipulated and

                           falsified the First Report to generate the opposite conclusion in the Investigative Report,

                           unlawfully released the confidential Investigative Report with the complicity of the press to

                           shape public opinion, self-promote politically, indict VSP troopers in the court of public

                           opinion and deprive them of their due process right. Defendants acted maliciously and

                           intended to harm the troopers including plaintiff by damaging their names, reputations and

                           careers because they are white and wore the VSP service uniform. As a result, plaintiff has

                           suffered loss of his career, loss of income, and the other losses and harms alleged above.

                           Plaintiff seeks compensatory, nominal and punitive damages as well as his attorney's fees,

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                           interest and costs.
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                                                                 COUNT FOUR
                                                            (INVASION OF PRIVACY)

                                   153.    Plaintiff refers to and incorporates the allegations in paragraphs 1-152.

                                   154.    "One who gives publicity to a matter concerning another that places the other

                           before the public in a false light is subject to liability to the other for invasion of his privacy,

                           if(a) the false light in which the other was placed would be highly offensive to a reasonable

                           person, and (b) the actor had knowledge of or acted in reckless disregard as to the falsity of

                           the publicized matter and the false light in which the other would be placed." Restat 2d of

                           Torts,§ 652E.

                                   155.    The facts detailed above satisfy the elements of a claim for invasion of

                           privacy. Defendants gave publicity to the Investigative Report which in part concerned

                           plaintiff, place him individually and specifically before the public in a false light as a racist,

                           a highly offensive label particularly for a law enforcement officer, and defendants did so

                           intentionally to ruin his reputation and career. At a minimum defendants were reckless for

                           failing to redact plaintiff's name as well as the names of the other troopers who had no

                           notice or ability to exercise their due process rights. Defendants' conduct was not absolutely

                           or conditionally privileged. The unlawful scheme was not part of the official duties of a

                           superior executive officer of a state. The illegal dissemination of the Investigative Report

                           did not, and cannot, serve an interest of the publisher which interest is lawfully protected by

                           the public's knowledge of the defamatory statement.

                                   156.    As a result of defendants' conduct, plaintiff has suffered loss of his career,

                           loss of income, and the other losses and harms alleged above. Plaintiff seeks compensatory,
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                                                                  COUNT FIVE
                                                                (DEFAMATION)

                                  157.     Plaintiff refers to and incorporates the allegations in paragraphs 1-156.

                                  158.     "To create liability for defamation there must be: (a) a false and defamatory

                           statement concerning another; (b) an unprivileged publication to a third party; (c) fault

                           amounting at least to negligence on the part of the publisher; and (d) either actionability of

                           the statement irrespective of special harm or the existence of special harm caused by the

                           publication." Restat 2d of Torts,§ 558; Stone v. Town ofIrasburg, 2014 VT 43, ,r 61, 196

                           Vt. 356, 380, 98 A.3d 769, 785. "One who publishes a slander that ascribes to another

                           conduct, characteristics or a condition that would adversely affect his fitness for the proper

                           conduct of his lawful business, trade or profession, or of his public or private office, whether

                           honorary or for profit, is subject to liability without proof of special harm." Restat 2d of

                           Torts, § 573.

                                   159.    Defendants published defamatory factual material as detailed above in the

                           Investigative Report and the Seven Days Article regarding plaintiff to accuse him of racism,

                           a defamation per se, which also caused harm and injury in fact to plaintiff. Defendants'

                           conduct was malicious and not privileged. Defendants had knowledge of the falsity of the

                           statements and/or acted in reckless disregard of their truth or falsity.

                                   160.    As a result of defendants' conduct, plaintiff has suffered loss of his career,

                           loss of income, and the other losses and harms alleged above. Plaintiff seeks compensatory,

                           nominal and punitive damages as well as interests and costs.



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                                                             COUNT FIVE
                                                   (INTERFERENCE WITH CONTRACT)

                                   161.    Plaintiff refers to and incorporates the allegations in paragraphs 1-160.

                                   162.    "One who intentionally and improperly interferes with the performance of

                            a contract (except a contract to marry) between another and a third person, by preventing the

                            other from performing the contract or causing his performance to be more expensive or

                            burdensome, is subject to liability to the other for the pecuniary loss resulting to him."

                            Restat 2d of Torts,§ 766A; Stone v. Town ofIrasburg, 2014 VT 43, ,i 66, 196 Vt. 356,382,

                            98 A.3d 769, 786.       Defendants' conduct as detailed above constituted intentional

                            interference with plaintiffs employment as he has been prevented from working as a

                            trooper. Defendants' conduct was not privileged or otherwise protected from liability for

                            intentional interference with contract.

                                    163.   "One who intentionally and improperly interferes with another's prospective

                            contractual relation (except a contract to marry) is subject to liability to the other for the

                            pecuniary harm resulting from loss of the benefits of the relation, whether the interference

                            consists of (a) inducing or otherwise causing a third person not to enter into or continue the

                            prospective relation or (b) preventing the other from acquiring or continuing the prospective

                            relation." Restat 2d of Torts, § 766B. Defendants' conduct as detailed above constituted

                            intentional interference with plaintiffs prospective employment as a law enforcement

                            officer. Defendants' conduct was not privileged or otherwise protected from liability for

                            intentional interference with contract.



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                                  164.    As a result of defendants' conduct, plaintiff has suffered loss of his career,

                           loss of income, and the other losses and harms alleged above. Plaintiff seeks compensatory,

                           nominal and punitive damages as well as interests and costs.

                                  WHEREFOR, plaintiff seeks recovery of compensatory damages, nominal damages,

                           punitive damages, interest, attorney's fees, costs and such other relief as may be proper.

                                                        DEMAND FOR JURY TRIAL

                                  Plaintiff demands trial by jury.

                                  Dated this 13 th day of May, 2022.

                                                                 Respectfully Submitted,


                                                                     I"-
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